                                                                                                                                                                                                                   AMENDED
             Case 22-56501-pmb                                     Doc 82              Filed 10/06/22 Entered 10/06/22 18:41:21                                                                    Desc Main
                                                                                      Document      Page 1 of 72

 Fill in this information to identify the case:

                Curepoint, LLC
  Debtor name _________________________________________________________________

                                          Northern District of Georgia
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
                                        22-56501
  Case number (If known):              _________________________


                                                                                                                                                                                                     
                                                                                                                                                                                                     ✔ Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                       2,021,519.78
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         2,021,519.78
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                        6,508,434.94
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        5,610,000.00



4. Total liabilities ...........................................................................................................................................................................       12,118,434.94
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
                                                                                                                                                          AMENDED
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      Fill in this information to identify the case:

                    Curepoint, LLC
      Debtor name __________________________________________________________________

                                              Northern District of Georgia
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                         
                                                                                                                                         ✔ Check if this is an
                                   22-56501
      Case number (If known):     _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete             Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated,   total claim amount and deduction for value of
                                                                            services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
     Newtek Small Business Finance                                         Business Guarantee
1    4800 T-Rex Avenue
     Suite 120
                                                                                                                                                       3,500,000.00
     Boca Raton, FL, 33431


     Alder Opportunity LP c/o Marna Friedman                                                      Disputed
2    3405 Dallas Highway
     Suite 827
                                                                                                                                                       550,000.00
     Marietta, GA, 30064

     Click Capital Group, LLC                                              Business Guarantee     Disputed
3    7901 4th St N.
     Ste 300
                                                                                                                                                       420,000.00
     Saint Petersburg, FL, 33702


     Premium Merchant Funding, LLC.                                        Business Guarantee     Disputed
4    40 Wall St. 5th Floor
                                                                                                                                                       200,000.00
     New York, NY, 10005


     Zen Capital c/o Trevor Talbot                                         Business Guarantee     Disputed
5    602 NE 38th Street
                                                                                                                                                       100,000.00
     Fort Lauderdale, FL, 33334

     Plexe, LLC                                                                                   Disputed
6    6295 Greenwood Plaza Blvd
     Suite 100                                                                                                                                         0.00
     Greenwood Village, CO, 80111


     HEWLETT-PACKARD FINANCIAL
7    SERVICES COMPANY
     200 CONNELL DRIVE                                                                                                                                 0.00
     Berkeley Heights, NJ, 07922

     CHESAPEAKE BANK                                                                              Disputed
8    97 N. MAIN ST.
     Kilmarnock, VA, 22482                                                                                                                             0.00




    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 1
                                                                                                                                                          AMENDED
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                   Curepoint, LLC                                                                                        22-56501
    Debtor        _______________________________________________________                        Case number (if known)_____________________________________
                  Name




     Name of creditor and complete            Name, telephone number,      Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code      and email address of         (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                              creditor contact             debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                           professional           unliquidated,   total claim amount and deduction for value of
                                                                           services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
     CITY CAPITAL NY, LLC                                                                         Disputed
9    90 STATE STREET, SUITE 700
     OFFICE 40                                                                                                                                          0.00
     Albany, NY, 12207

     ARROW CAPITAL SOLUTIONS, INC.                                                                Disputed
10 9201 EAST DRY CREEK ROAD
     Englewood, CO, 80112                                                                                                                               0.00



     SPARK FUNDING, LLC DBA                                              Notice Only              Disputed
11 FUNDAMENTAL CAPITAL
     100 GARDEN CITY PLAZA #410                                                                                                                         0.00
     Garden City, NY, 11530

     HI BAR CAPITAL LLC                                                  Notice Only              Disputed
12 1825 65TH ST
     Brooklyn, NY, 11204                                                                                                                                0.00



     Zeroholding, LLC
13 11175 Cicero Drive
     Suite 100                                                                                                                                          0.00
     Alpharetta, GA, 30022

     Georgia Department of Revenue                                       Taxes & Other
14 ARCS - Bankruptcy 1800 Century Blvd                                   Government Units
     NE, Suite 9100                                                                                                                                     0.00
     Atlanta, GA, 30345
     Georgia Department of Labor                                         Taxes & Other
15 148 Andrew Young Inter. Blvd                                          Government Units
     Room 738
                                                                                                                                                        0.00
     Atlanta, GA, 30303-0000

     Internal Revenue Service                                            Taxes & Other
16 CIO                                                                   Government Units
     P.O. Box 7346                                                                                                                                      0.00
     Philadelphia, PA, 19101-7346



17




18




19




20




    Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
                                                                                                                                                 AMENDED
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                                                            Document      Page 4 of 72
  Fill in this information to identify the case:

               Curepoint, LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Northern District of Georgia
  Case number (If known):
                                22-56501
                                _________________________                                                                            Check if this is an
                                                                                                                                     ■


                                                                                                                                         amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Synovus
    3.1. _________________________________________________  Checking
                                                           ______________________              8
                                                                                               ____    4
                                                                                                      ____    3
                                                                                                             ____   1
                                                                                                                    ____         $______________________
                                                                                                                                   78,225.00
          See continuation sheet
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____                 4,999.25
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 83,224.25
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   ✔
            No. Go to Part 3.
           Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
                                                                                                                                     AMENDED
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Debtor           Curepoint, LLC                       Document
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                                                                                  Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     335,429.00
                                  ____________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    335,429.00
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         162,615.00
                                   ___________________________    12,748.47
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    149,866.53
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
                                                                                                                                    485,295.53
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
                                                                                                                                        AMENDED
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                                                                                     Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                               Date of the last         Net book value of        Valuation method used      Current value of
                                                        physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                 $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used      Current value of debtor’s
                                                                                 debtor's interest        for current value          interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________    $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 3
                                                                                                                                       AMENDED
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Debtor
                Curepoint, LLC                              Document
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               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture
Furniture and Fixtures
                                                                                    552.00
                                                                                  $________________   ____________________       5,000.00
                                                                                                                               $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
Servers, Copiers & Other Equipment                                                  688,195.00                                   50,000.00
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                 55,000.00
                                                                                                                               $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
     
     ✔ Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
                                                                                                                                     AMENDED
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 Debtor
                 Curepoint, LLC
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                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________   ____________________    $______________________

    47.2___________________________________________________________         $________________   ____________________    $______________________

    47.3___________________________________________________________         $________________   ____________________    $______________________

    47.4___________________________________________________________         $________________   ____________________    $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________    ____________________    $______________________

    48.2__________________________________________________________         $________________    ____________________    $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________    ____________________    $______________________

    49.2__________________________________________________________         $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    See continuation sheet
                                                                             2,527,408.00                                 1,398,000.00
    ______________________________________________________________         $________________    ____________________    $______________________


51. Total of Part 8.                                                                                                      1,398,000.00
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
     
     ✔    Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
     
     ✔    Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
                                                                                                                                       AMENDED
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               Curepoint, LLC                                                                              22-56501
 Debtor                                                 Document
                  _______________________________________________________ Page 9 of 72
                                                                                    Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       Curepoint Radiation Center                              Lease
55.1
                                                                                      0.00                                          Unknown
                                                                                     $_______________     ____________________     $_____________________

55.2

                                                                                     $_______________     ____________________     $_____________________

55.3

                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                0.00
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations                                                                             0.00
       ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                                0.00
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                            page 6
                                                                                                                                           AMENDED
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Debtor            Curepoint, LLC                                 Document
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                                                                                          72 number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
    
    ✔     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔     No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                           Current value of
                                                                                                                                           debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                          _______________     –   __________________________         =   $_____________________
                                                                          Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                                Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                                Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                                Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                        $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                        $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
     Possible Claim Against Entities Listed on SOFA 4 for Monies Loaned
    ______________________________________________________________                                                                          Unknown
                                                                                                                                          $_______________________

    Nature of claim                     Monies Funded
                                       ___________________________________

    Amount requested                     0.00
                                       $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                         $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
    2 Certificates of Need
   ____________________________________________________________                                                                             Unknown
                                                                                                                                          $_____________________
   ____________________________________________________________                                                                           $_____________________
78. Total of Part 11.
                                                                                                                                            0.00
                                                                                                                                          $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Official Form 206A/B                                              Schedule A/B: Assets  Real and Personal Property                                   page 7
                                                                                                                                                 AMENDED
              Case 22-56501-pmb                         Doc 82          Filed 10/06/22 Entered 10/06/22 18:41:21 Desc Main
Debtor
                   Curepoint, LLC
                                                                       Document
                  _______________________________________________________           Page 11 of Case                  22-56501
                                                                                                72 number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         83,224.25
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         485,295.53
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         55,000.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         1,398,000.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         2,021,519.78                          0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  2,021,519.78                                                                                     2,021,519.78
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
                                                                                                                                AMENDED
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 Debtor 1                                                             _                  Case number (if known)
               First Name    Middle Name       Last Name



                                                   Continuation Sheet for Official Form 206 A/B
3) Checking, savings, money market, or financial brokerage accounts

Synovus                                    Checking                                  7944

Balance: 1.30

Synovus                                    Savings                                   7951

Balance: 4,692.75

Chase Bank                                 Checking                                  3915

Balance: 305.20

Synovus                                    Checking                                  9546

Balance: 0.00


50) Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

Furniture &                         1.00                           Straight Line                       2,000.00
Fixtures

Linear Accelerator                  1,950,000.00                   Straight Line                       650,000.00

Machine Upgrade                     63,334.00                      Straight Line                       50,000.00

CT Machine                          78,500.00                      Straight Line                       120,000.00

Vault Upgrades                      108,651.00                     Straight Line                       105,000.00

RS&A- Machinery &                   50,613.00                                                          15,000.00
Equipment

SunNuclear                          16,429.00                                                          4,000.00

Vault- Dublin Co                    33,469.00                                                          7,000.00

Vault- Dublin Co                    94,157.00                                                          25,000.00

Mosaiq                              14,079.00                                                          25,000.00

Mosaiq                              78,079.00                                                          40,000.00

GA Power- Out of                    5,796.00                                                           5,000.00
Ration Costs

Mosaiq                              0.00                                                               250,000.00

Elekta Infinity                     34,300.00                                                          100,000.00
Linac (Removal
Value)




Official Form 206 A/B                                               Schedule A/B: Property
                                                                                                                                                                          AMENDED
             Case 22-56501-pmb                             Doc 82    Filed 10/06/22 Entered 10/06/22 18:41:21                                       Desc Main
                                                                    Document     Page 13 of 72
  Fill in this information to identify the case:
              Curepoint, LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Northern District of Georgia
                                 22-56501
  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                           ✔


                                                                                                                                                                amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                    12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                      Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim               Value of collateral
                                                                                                                                 Do not deduct the value       that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.                claim
     AMOA Finance LLC.                                           Linear Accelerator
      __________________________________________                                                                                   594,000.00
                                                                                                                                 $__________________              650,000.00
                                                                                                                                                                $_________________

     Creditor’s mailing address

      3330 Preston Ridge RD
      ________________________________________________________
      Alpharetta, GA 30005
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Agreement    you made
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________             No
    Last 4 digits of account                                     
                                                                 ✔   Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Arvest Equipment Finance
                                                                 Multiple copiers                                                $__________________
                                                                                                                                  720,000.00                    $_________________
                                                                                                                                                                 600,000.00
      __________________________________________
     Creditor’s mailing address
      PO Box 11110
      ________________________________________________________
      Fort Smith, AR 72745
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
                             11/01/2021
    Date debt was incurred __________________
    Last 4 digits of account                                      Agreement you made
                                                                  _________________________________________________
    number                   3699
                             _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
    
    ✔ No
                                                                 Is anyone else liable on this claim?
     Yes. Have you already specified the relative                  No
              priority?
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                  specified on lines _____                          Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    6,508,434.94
                                                                                                                                  $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                              10
                                                                                                                                                                  page 1 of ___
                                                                                                                                          AMENDED
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                 Curepoint, LLC
                                                            Doc 82
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  Debtor            _______________________________________________________
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                                                                                        72 number (if known)_____________________________________
                    Name



                                                                                                                                 Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                               Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Azzure Capital, LLC
                                                                Creditor asserts lien on all Debtor's assets
     __________________________________________                                                                                   0.00
                                                                                                                                 $__________________      0.00
                                                                                                                                                         $_________________
     Creditor’s mailing address

     c/o REGISTERED AGENTS INC.
     ________________________________________________________

     90 State Street Suite 700, Office 40, Albany, NY 12207
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________         Describe the lien
    Last 4 digits of account
                                                                 __________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
    
    ✔ No

     Yes. Have you already specified the relative               Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                      
                                                                 ✔   Disputed


2.__
  4 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Bankers Healthcare Group, LLC
                                                                Creditor asserts lien in all assets of the
                                                                Debtor.
     __________________________________________                                                                                   Undetermined
                                                                                                                                 $__________________       0.00
                                                                                                                                                         $_________________
     Creditor’s mailing address


      10234 W State Road 84
     ________________________________________________________

      ATTN: Albert Crawford, Fort Lauderdale, FL 33324
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            7/12/2018
                                     __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   __________________________________________________


    Do multiple creditors have an interest in the                Is the creditor an insider or related party?
    same property?                                               
                                                                 ✔   No
    
    ✔ No                                                            Yes

     Yes. Have you already specified the relative               Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___
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  Debtor            _______________________________________________________
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                                                                                        72 number (if known)_____________________________________
                    Name



                                                                                                                                 Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                               Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  5 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     CHTD COMPANY
                                                                Creditor asserts a lien on all assets of the
     __________________________________________                 Debtor.                                                           Unknown
                                                                                                                                 $__________________      0.00
                                                                                                                                                         $_________________
     Creditor’s mailing address

     P.O. BOX 2576
     ________________________________________________________

     Springfield, IL 62708
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________         Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
    
    ✔ No

     Yes. Have you already specified the relative               Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                      
                                                                 ✔   Disputed


2.__
  6 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     CLG Servicing, LLC.
                                                                Creditor asserts lien in all assets of the
                                                                Debtor.
     __________________________________________                                                                                   810,000.00
                                                                                                                                 $__________________       0.00
                                                                                                                                                         $_________________
     Creditor’s mailing address


      1433 Hooper Avenue
     ________________________________________________________

      Toms River, NJ 08753
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            04/28/2022
                                     __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the                Is the creditor an insider or related party?
    same property?                                               
                                                                 ✔   No
    
    ✔ No                                                            Yes

     Yes. Have you already specified the relative               Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___
                                                                                                                                                                  3 of ___
                                                                                                                                                                        10
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                    Name



                                                                                                                                  Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                                Amount of claim         Value of collateral
                                                                                                                                  Do not deduct the value that supports this
                                                                                                                                  of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  7 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     First American Commercial Bancorp, Inc.
                                                                 3 Kyocera TASKalfa 4055ci printers; 3
      __________________________________________                 Kyocera fax system 12s; 3 premier copy                            202,773.93
                                                                                                                                  $__________________      Unknown
                                                                                                                                                          $_________________
     Creditor’s mailing address                                  stands; 3 kyocera pf-7120 trays; 3 kyocera
                                                                 zf-1000 trays; 3 kyocera efi print system
      211 High Point Drive
      ________________________________________________________
                                                                 17s; 3 kyocera efi interface kits; 3 EFI CPS
      Victor, NY 14564
      ________________________________________________________
                                                                 V.5X-ES-3000 Color Profiler suites; 3 EFI
                                                                 Fiery Impose-Composes; 3 EFI ColorRight
     Creditor’s email address, if known                          Package 5s; 3 Adobe Print PDF engines
      pdegenaro@benantilaw.com
      _________________________________________



     Date debt was incurred          __________________
                                     02/17/2022                  Describe the lien
     Last 4 digits of account                                     Agreement you made, Creditor asserts this is                     a lease
                                                                  __________________________________________________
     number                   _________________
                              SF01
                                                                  Is the creditor an insider or related party?
     Do multiple creditors have an interest in the                
                                                                  ✔   No
     same property?                                                  Yes
     
     ✔ No

      Yes. Have you already specified the relative               Is anyone else liable on this claim?
               priority?                                          
                                                                  ✔   No
              No. Specify each creditor, including this             Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                  As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                     Contingent
              Yes. The relative priority of creditors is            Unliquidated
                   specified on lines _____                          Disputed


2.__
  8 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     First Liberty Building and Loan
                                                                 Creditor asserts lien in all assets of the
                                                                 Debtor.
      __________________________________________                                                                                   2,500,000.00
                                                                                                                                  $__________________       0.00
                                                                                                                                                          $_________________
     Creditor’s mailing address


       PO Box 2567
      ________________________________________________________

       Newnan, GA 30264
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           11/22/2019
                                     __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   Agreement you made
                                                                  __________________________________________________


     Do multiple creditors have an interest in the                Is the creditor an insider or related party?
     same property?                                               
                                                                  ✔   No
     
     ✔ No                                                            Yes

      Yes. Have you already specified the relative               Is anyone else liable on this claim?
               priority?                                          
                                                                  ✔   No
              No. Specify each creditor, including this
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                  As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                     Contingent
              Yes. The relative priority of creditors is            Unliquidated
                   specified on lines _____                          Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page ___
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  Debtor            _______________________________________________________
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                    Name



                                                                                                                                 Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                               Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  9 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     GEL Funding, LLC
                                                                Creditor asserts a lien on all assets of the
     __________________________________________                 Debtor.                                                           Undetermined
                                                                                                                                 $__________________      0.00
                                                                                                                                                         $_________________
     Creditor’s mailing address

     5308 13TH AVENUE, SUITE 324
     ________________________________________________________

     Brooklyn, NY 11219
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________         Describe the lien
    Last 4 digits of account                                     collectionsmca@gmail.com
                                                                 __________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
    
    ✔ No

     Yes. Have you already specified the relative               Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                      
                                                                 ✔   Disputed


2.__
  10 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      Lafayette Bank
                                                                Creditor asserts lien in all assets of the
                                                                Debtor.
     __________________________________________                                                                                   850,000.00
                                                                                                                                 $__________________       600,000.00
                                                                                                                                                         $_________________
     Creditor’s mailing address


      340 West Main Street
     ________________________________________________________

      Mayo, FL 32066
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            12/31/2021
                                     __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the                Is the creditor an insider or related party?
    same property?                                               
                                                                 ✔   No
    
    ✔ No                                                            Yes

     Yes. Have you already specified the relative               Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___
                                                                                                                                                                  5 of ___
                                                                                                                                                                        10
                                                                                                                                          AMENDED
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  Debtor            _______________________________________________________
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                                                                                        72 number (if known)_____________________________________
                    Name



                                                                                                                                 Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                               Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  11 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Morris Bank
                                                                 Notice Only (Loan Purchased)
      __________________________________________                                                                                  0.00
                                                                                                                                 $__________________      0.00
                                                                                                                                                         $_________________
     Creditor’s mailing address

      301 Bellevue Avenue
      ________________________________________________________

      Dublin, GA 31040-0520
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred          __________________          Describe the lien
     Last 4 digits of account
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔   No
     same property?                                                 Yes
     
     ✔ No

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                      
                                                                 ✔   Disputed


2.__
  12 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      NFG Advance, LLC
                                                                 Creditor asserts lien in all assets of the
                                                                 Debtor.
      __________________________________________                                                                                  100,000.00
                                                                                                                                 $__________________       0.00
                                                                                                                                                         $_________________
     Creditor’s mailing address


       1308 KINGS HWY
      ________________________________________________________

       Brooklyn, NY 11229
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           05/03/2022
                                     __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   Agreement you made
                                                                  __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔   No
     
     ✔ No                                                           Yes

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___
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                                                                                                                                          AMENDED
               Case  22-56501-pmb
                 Curepoint, LLC
                                                            Doc 82
                                                             Filed 10/06/22 Entered 10/06/22 18:41:21         22-56501
                                                                                                                           Desc Main
  Debtor            _______________________________________________________
                                                          Document          Page 19 of Case
                                                                                        72 number (if known)_____________________________________
                    Name



                                                                                                                                 Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                               Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  13 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      NORTH AMERICAN BANKING COMPANY
                                                                2019 Kyocera 3252
     __________________________________________                                                                                   0.00
                                                                                                                                 $__________________      0.00
                                                                                                                                                         $_________________
     Creditor’s mailing address

     9260 HUDSON RD
     ________________________________________________________

     Saint Paul, MN 55125
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________         Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
    
    ✔ No

     Yes. Have you already specified the relative               Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


2.__
  14 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      Parkview Advance
                                                                Creditor asserts lien in all assets of the
                                                                Debtor.
     __________________________________________                                                                                   250,000.00
                                                                                                                                 $__________________       0.00
                                                                                                                                                         $_________________
     Creditor’s mailing address


      400 Main Street
     ________________________________________________________

      Stamford, CT 06901
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            06/08/2022
                                     __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the                Is the creditor an insider or related party?
    same property?                                               
                                                                 ✔   No
    
    ✔ No                                                            Yes

     Yes. Have you already specified the relative               Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___
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                                                                                                                                          AMENDED
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                 Curepoint, LLC
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                    Name



                                                                                                                                 Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                               Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  15 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      PointOne Capital, LLC
                                                                Creditor asserts lien in all assets of the
     __________________________________________                 Debtor.                                                           200,000.00
                                                                                                                                 $__________________      0.00
                                                                                                                                                         $_________________
     Creditor’s mailing address

     90 STATE STREET, SUITE 700
     ________________________________________________________

     Office 40, Albany, NY 12207
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________
                                     07/11/2022                 Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
    
    ✔ No

     Yes. Have you already specified the relative               Is anyone else liable on this claim?
               priority?                                            No
              No. Specify each creditor, including this         
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                      
                                                                 ✔   Disputed


2.__
  16 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      US Bank, N.A.
                                                                Copiers
     __________________________________________                                                                                   131,661.01
                                                                                                                                 $__________________       13,000.00
                                                                                                                                                         $_________________
     Creditor’s mailing address


      1310 Madrid Street
     ________________________________________________________

      Marshall, MN 56258
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the                Is the creditor an insider or related party?
    same property?                                               
                                                                 ✔   No
    
    ✔ No                                                            Yes

     Yes. Have you already specified the relative               Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___
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                                                                                                                                          AMENDED
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                    Name



                                                                                                                                  Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                                Amount of claim         Value of collateral
                                                                                                                                  Do not deduct the value that supports this
                                                                                                                                  of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  17 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      US Small Business Administration
                                                                 Creditor asserts lien in all assets of the
      __________________________________________                 Debtor.                                                           150,000.00
                                                                                                                                  $__________________      0.00
                                                                                                                                                          $_________________
     Creditor’s mailing address

      233 Peachtree St. NE., Suite 300
      ________________________________________________________

      Atlanta, GA 30303
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred          __________________
                                     07/01/2020                  Describe the lien
     Last 4 digits of account                                     Agreement you made
                                                                  __________________________________________________
     number                   _________________
                              4948
                                                                  Is the creditor an insider or related party?
     Do multiple creditors have an interest in the                
                                                                  ✔   No
     same property?                                                  Yes
     
     ✔ No

      Yes. Have you already specified the relative               Is anyone else liable on this claim?
               priority?                                          
                                                                  ✔   No
              No. Specify each creditor, including this             Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                  As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                     Contingent
              Yes. The relative priority of creditors is            Unliquidated
                   specified on lines _____                          Disputed


2.__ Creditor’s name                                             Describe debtor’s property that is subject to a lien



      __________________________________________                                                                                  $__________________     $_________________
     Creditor’s mailing address


      ________________________________________________________

      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred          __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________


     Do multiple creditors have an interest in the                Is the creditor an insider or related party?
     same property?                                                  No
      No                                                            Yes

      Yes. Have you already specified the relative               Is anyone else liable on this claim?
               priority?                                             No
              No. Specify each creditor, including this
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                  As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                     Contingent
              Yes. The relative priority of creditors is            Unliquidated
                   specified on lines _____                          Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page ___
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                                                                                                                                                        AMENDED
            Case 22-56501-pmb                 Doc 82       Filed 10/06/22 Entered 10/06/22 18:41:21                                   Desc Main
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Debtor
               Curepoint, LLC
               _______________________________________________________                                                    22-56501
                                                                                                  Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      10 of ___
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                                                                                                                                                  AMENDED
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   Fill in this information to identify the case:          Document     Page 23 of 72

   Debtor
                    Curepoint, LLC
                    __________________________________________________________________

                                           Northern District of Georgia
   United States Bankruptcy Court for the: ________________________________

   Case number       22-56501
                     ___________________________________________
    (If known)

                                                                                                                                      Check if this is an
                                                                                                                                      ✔


                                                                                                                                          amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                     12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                 Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           0.00                        0.00
    Georgia Department of Labor                                                                                                      $_________________
                                                            Check all that apply.
    148 Andrew Young Inter. Blvd                               Contingent
    Room 738                                                   Unliquidated
    Atlanta, GA, 30303-0000                                    Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Georgia Department of Revenue                           As of the petition filing date, the claim is: $______________________
                                                                                                            0.00                       0.00
                                                                                                                                     $_________________
                                                            Check all that apply.
    ARCS - Bankruptcy 1800 Century Blvd NE, Suite
    9100                                                       Contingent
                                                               Unliquidated
     Atlanta, GA, 30345                                        Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           0.00                       0.00
    Internal Revenue Service                                                                                                         $_________________
                                                            Check all that apply.
    CIO
                                                               Contingent
    P.O. Box 7346                                              Unliquidated
    Philadelphia, PA, 19101-7346                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 7
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  Debtor        _______________________________________________________          Case number (if known)_____________________________________
                Name                                      Document     Page 24 of 72
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Alder Opportunity LP c/o Marna Friedman                                                                                  550,000.00
                                                                                                                           $________________________________
                                                                              Contingent
    3405 Dallas Highway                                                       Unliquidated
    Suite 827                                                              
                                                                           ✔
                                                                               Disputed
    Marietta, GA, 30064
                                                                           Basis for the claim:



    Date or dates debt was incurred            01/17/2020
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    ARROW CAPITAL SOLUTIONS, INC.                                          Check all that apply.                             0.00
                                                                                                                           $________________________________
    9201 EAST DRY CREEK ROAD                                                  Contingent
    Englewood, CO, 80112                                                      Unliquidated
                                                                           
                                                                           ✔   Disputed
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    CHESAPEAKE BANK                                                                                                          0.00
                                                                                                                           $________________________________
                                                                              Contingent
    97 N. MAIN ST.                                                            Unliquidated
    Kilmarnock, VA, 22482                                                  
                                                                           ✔   Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    CITY CAPITAL NY, LLC                                                   Check all that apply.
                                                                                                                             0.00
                                                                                                                           $________________________________
    90 STATE STREET, SUITE 700                                                Contingent
    OFFICE 40                                                                 Unliquidated
    Albany, NY, 12207                                                      
                                                                           ✔   Disputed
                                                                            Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Click Capital Group, LLC                                                                                                 420,000.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    7901 4th St N.                                                            Contingent
    Ste 300                                                                   Unliquidated
    Saint Petersburg, FL, 33702                                            
                                                                           ✔   Disputed
                                                                           Basis for the claim:
                                                                                                   Business Guarantee

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Eclipse Staffing, LLC                                                                                                    Undetermined
                                                                                                                           $________________________________
                                                                           Check all that apply.
    11175 Cicero Drive                                                        Contingent
    Suite 100                                                                 Unliquidated
    Alpharetta, GA, 30022                                                     Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __    7
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  Debtor          _______________________________________________________      Case number (if known)_____________________________________
                  Name                                  Document     Page 25 of 72
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                     $________________________________
 HEWLETT-PACKARD FINANCIAL SERVICES                                     Contingent
 COMPANY                                                                Unliquidated
 200 CONNELL DRIVE                                                      Disputed
 Berkeley Heights, NJ, 07922
                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 HI BAR CAPITAL LLC
 1825 65TH ST                                                           Contingent
 Brooklyn, NY, 11204                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Notice Only



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark McCord                                                         Check all that apply.
                                                                                                                      840,000.00
                                                                                                                     $________________________________
 2007 Breckinridge Lane                                                 Contingent
                                                                        Unliquidated
 Alpharetta, GA, 30005                                                  Disputed
                                                                     Basis for the claim: Indemnification



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      Undetermined
                                                                                                                     $________________________________
 MEC Capital, Inc.                                                   Check all that apply.
 11175 Cicero Drive                                                     Contingent
 Suite 100                                                              Unliquidated
 Alpharetta, GA, 30022                                                  Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Medical Management Institute, Inc.                                  Check all that apply.
                                                                                                                       Undetermined
                                                                                                                     $________________________________
 11175 Cicero Drive                                                     Contingent
 Suite 100                                                              Unliquidated
 Alpharetta, GA, 30022                                                  Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     7
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             Undetermined
                                                                                                                     $________________________________
 Mittere Tax & Advisory, LLC                                            Contingent
 11175 Cicero Drive                                                     Unliquidated
 Suite 100                                                              Disputed
 Alpharetta, GA, 30022
                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       Undetermined
                                                                                                                     $________________________________
 Mittere, Inc.
 11175 Cicero Drive                                                     Contingent
 Suite 100                                                              Unliquidated
 Alpharetta, GA, 30022                                                  Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Newtek Small Business Finance                                       Check all that apply.
                                                                                                                      3,500,000.00
                                                                                                                     $________________________________
 4800 T-Rex Avenue                                                      Contingent
 Suite 120                                                              Unliquidated
 Boca Raton, FL, 33431                                                  Disputed
                                                                     Basis for the claim: Business Guarantee



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      Undetermined
                                                                                                                     $________________________________
 Northwinds Leasing, LLC                                             Check all that apply.
 11175 Cicero Drive                                                     Contingent
 Suite 100                                                              Unliquidated
 Alpharetta, GA, 30022                                                  Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Physician Financial Partners, LLC                                   Check all that apply.
                                                                                                                       Undetermined
                                                                                                                     $________________________________
 11175 Cicero Drive                                                     Contingent
 Suite 100                                                              Unliquidated
 Alpharetta, GA, 30022                                                  Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             Undetermined
                                                                                                                     $________________________________
 Plexe, LLC                                                             Contingent
 6295 Greenwood Plaza Blvd                                              Unliquidated
 Suite 100                                                           
                                                                     ✔   Disputed
 Greenwood Village, CO, 80111
                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       200,000.00
                                                                                                                     $________________________________
 Premium Merchant Funding, LLC.
 40 Wall St. 5th Floor                                                  Contingent
                                                                        Unliquidated
 New York, NY, 10005                                                 
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Business Guarantee



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 SPARK FUNDING, LLC DBA FUNDAMENTAL                                  Check all that apply.
                                                                                                                      0.00
                                                                                                                     $________________________________
 CAPITAL                                                                Contingent
 100 GARDEN CITY PLAZA #410                                             Unliquidated
 Garden City, NY, 11530                                              
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Notice Only



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100,000.00
                                                                                                                     $________________________________
 Zen Capital c/o Trevor Talbot                                       Check all that apply.
 602 NE 38th Street                                                     Contingent
                                                                        Unliquidated
 Fort Lauderdale, FL, 33334                                          
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Business Guarantee



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zeroholding, LLC                                                    Check all that apply.
                                                                                                                       Undetermined
                                                                                                                     $________________________________
 11175 Cicero Drive                                                     Contingent
 Suite 100                                                              Unliquidated
 Alpharetta, GA, 30022                                                  Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          MEC Capital, Inc. c/o Michael Miles
4.1.      300 Hayward Lane                                                                          3.10
                                                                                               Line _____
          Alpharetta, GA, 30022                                                                                                                 ________________
                                                                                                    Not listed. Explain:


          Medical Management Institute, Inc. c/o Michael Miles
4.2.
          250 Pharr Road NE                                                                    Line 3.11
                                                                                                    _____
          Unit 212                                                                                Not listed. Explain                          ________________
          Atlanta, GA, 30305

          Newtek Small Business Finanance c/o Corporation Service Company                           3.14
4.3.                                                                                           Line _____
          2 SUN COURT
          Suite 400                                                                               Not listed. Explain                          ________________
          Norcross, GA, 30092
          Northwinds Leasing, LLC c/o Michael Miles
4.4.      300 Hayward Lane                                                                          3.15
                                                                                               Line _____
          Alpharetta, GA, 30022                                                                                                                 ________________
                                                                                                  Not listed. Explain

          Tom Barton
41.       150 South Perry Street                                                                    3.9
                                                                                               Line _____
          Suite 100                                                                                                                             ________________
          Lawrenceville, GA, 30046
                                                                                                  Not listed. Explain

4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __    7
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Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                          0.00
                                                                                                        $_____________________________




5b. Total claims from Part 2                                                                  5b.   +     5,610,000.00
                                                                                                        $_____________________________




5c. Total of Parts 1 and 2                                                                                5,610,000.00
                                                                                              5c.       $_____________________________
   Lines 5a + 5b = 5c.




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 Fill in this information to identify the case:

             Curepoint, LLC
 Debtor name __________________________________________________________________

                                         Northern District of Georgia
 United States Bankruptcy Court for the:______________________

                            22-56501                                         11
 Case number (If known):    _________________________                Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                         ✔


                                                                                                                                             amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Curepoint Radiation Center                        Curepoint Dublin, LLC
         State what the contract or    Lessee                                            c/o Michael Miles
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         300 Hayward Lane
                                                                                         Alpharetta, GA, 30022
         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
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 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Curepoint, LLC

                                         Northern District of Georgia
 United States Bankruptcy Court for the:_______________________________

                            22-56501
 Case number (If known):    _________________________




                                                                                                                                           Check if this is an
                                                                                                                                           ✔


                                                                                                                                               amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                                 12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       ✔ Yes (By checking yes, declarant is not representing that any of the below entities or individuals are actually liable to the listed Creditor - only that
       
               the Creditor may have asserted that the entity or individual is liable.)
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                 Column 2: Creditor

                                                                                                                                               Check all schedules
            Name                      Mailing address                                                      Name
                                                                                                                                               that apply:

       Phillip Miles                 Phillip Miles
 2.1
                                     300 Hayward Lane                                                     Premium                       D
                                                                                                                     Merchant Funding,LLC.
                                                                                                           _____________________
                                                                                                                                               ✔ E/F
                                                                                                                                               
                                     Alpharetta, GA 30022                                                                                       G




 2.2                                 Phillip Miles
                                                                                                          PointOne   Capital, LLC
                                                                                                           _____________________               ✔ D
                                                                                                                                               
                                     300 Hayward Lane
                                                                                                                                                E/F
                                     Alpharetta, GA 30022                                                                                       G
       Phillip Miles



 2.3                                 Phillip Miles
                                     300 Hayward Lane                                                     Zen  Capital c/o Trevor Talbot
                                                                                                           _____________________       D
                                                                                                                                               ✔ E/F
                                                                                                                                               
                                     Alpharetta, GA 30022
       Phillip Miles                                                                                                                            G



 2.4
                                     Zeroholding, LLC
                                     11175 Cicero Drive                                                   Zen                          D
                                                                                                               Capital c/o Trevor Talbot
                                                                                                           _____________________
                                                                                                                                               ✔ E/F
                                                                                                                                               
                                     Suite 100
       Zeroholding, LLC                                                                                                                         G
                                     Alpharetta, GA 30022


 2.5                                 IBS Solutions, Inc.
                                     11175 Cicero Drive                                                   Zen                          D
                                                                                                               Capital c/o Trevor Talbot
                                                                                                           _____________________
                                                                                                                                               ✔ E/F
                                                                                                                                               
                                     Suite 100                                                                                                  G
       IBS Solutions, Inc.
                                     Alpharetta, GA 30022


 2.6                         Zeroholding LLC d/b/a Zeroholding OKC
                             11175 Cicero Drive                                                           Click Capital Group, LLC
                                                                                                           _____________________                D
                                                                                                                                               ✔ E/F
                                                                                                                                               
                             Suite 100                                                                                                          G
       Zeroholding LLC d/b/a Zeroholding OKC
                             Alpharetta, GA 30022




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            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   7
 2.___    Radiation                                                                          Click Capital Group, LLC
                                                                                                                               D
          Oncology Center                                                                                                     ✔ E/F
                                                                                                                              
                                                                                                                               G




   8
 2.___    Z.E.R.O. Holding       Z.E.R.O. Holding Co., LLC                                   Click Capital Group, LLC
                                                                                                                               D
          Co., LLC               2132 JACKSON PKWY                                                                            ✔ E/F
                                                                                                                              
                                 Atlanta, GA 30318                                                                             G




   9
 2.___    Michael Miles          Michael Miles                                               PointOne Capital, LLC            ✔ D
                                                                                                                              
                                 300 Hayward Lane                                                                              E/F
                                 Alpharetta, GA 30022                                                                          G




   10
 2.___    Sterling Capital       Sterling Capital Group, LLC                                 Zen Capital c/o Trevor
                                                                                                                               D
          Group, LLC             11175 Cicero Drive                                          Talbot                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   11
 2.___    MMI Educational        MMI Educational Technologies, LLC                           Click Capital Group, LLC  D
          Technologies,          11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
          LLC                    Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   12
 2.___    Curepoint              Curepoint Holdings LLC                                      Click Capital Group, LLC  D
          Holdings LLC           11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   13
 2.___    Eyewonder, Inc.                                                                    Click Capital Group, LLC
                                                                                                                               D
                                                                                                                              ✔ E/F
                                                                                                                              
                                                                                                                               G




   14
 2.___
          IBS Solutions, Inc. IBS Solutions, Inc.                                            Click Capital Group, LLC  D
                              11175 Cicero Drive                                                                              ✔ E/F
                                                                                                                              
                              Suite 100                                                                                        G
                              Alpharetta, GA 30022




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               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   15
 2.___    MEC Capital, Inc.      MEC Capital, Inc.                                           Click Capital Group, LLC
                                                                                                                               D
                                 11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   16
 2.___    Alpharetta             Alpharetta Weightloss & Counseling, LLC                     Click Capital Group, LLC
                                                                                                                               D
          Weightloss &           3333 Old Milton Parkway                                                                      ✔ E/F
                                                                                                                              
          Counseling, LLC        Suite 200                                                                                     G
                                 Alpharetta, GA 30005


   17
 2.___    The Locklear           The Locklear Company                                        Zen Capital c/o Trevor            D
          Company                11175 Cicero Drive                                          Talbot                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   18
 2.___    Medical                Medical Management Institute, Inc.                          Click Capital Group, LLC
                                                                                                                               D
          Management             11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
          Institute, Inc.        Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   19
 2.___    Mittere Tax &          Mittere Tax & Advisory, LLC                                 Zen Capital c/o Trevor            D
          Advisory, LLC          11175 Cicero Drive                                          Talbot                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   20
 2.___    Zeroholding, LLC       Zeroholding, LLC                                            Premium Merchant                  D
                                 11175 Cicero Drive                                          Funding, LLC.                    ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   21
 2.___    Mittere, Inc.          Mittere, Inc.                                               Zen Capital c/o Trevor
                                                                                                                               D
                                 11175 Cicero Drive                                          Talbot                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   22
 2.___
          Schorr Line            Schorr Line Enterprises, Inc.                               Click Capital Group, LLC  D
          Enterprises, Inc.      11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022




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Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   23
 2.___    City of Atlanta        City of Atlanta Fund, LLC                                   Click Capital Group, LLC
                                                                                                                               D
          Fund, LLC              11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   24
 2.___    Eclipse Advisors,      Eclipse Advisors, LLC                                       Click Capital Group, LLC
                                                                                                                               D
          LLC                    11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   25
 2.___    Junior Raiders         Junior Raiders Baseball, Inc.                               Click Capital Group, LLC  D
          Baseball, Inc.         PO Box 3206                                                                                  ✔ E/F
                                                                                                                              
                                 Alpharetta, GA 30023-3206                                                                     G




   26
 2.___    Mills Floral Co.       Mills Floral Co.                                            Click Capital Group, LLC
                                                                                                                               D
                                 4550 PEACHTREE LAKES DR                                                                      ✔ E/F
                                                                                                                              
                                 Duluth, GA 30096-3092                                                                         G




   27
 2.___    Milo Sussex, LLC       Milo Sussex, LLC                                            Click Capital Group, LLC  D
                                 11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   28
 2.___    PRSOG LLC              PRSOG LLC                                                   Zen Capital c/o Trevor            D
                                 11175 Cicero Drive                                          Talbot                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   29
 2.___    HST, Inc.              HST, Inc.                                                   Click Capital Group, LLC
                                                                                                                               D
                                 11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   30
 2.___
          Water Machine,         Water Machine, LLC                                          Click Capital Group, LLC  D
          LLC                    11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022




 Official Form 206H                                     Schedule H: Codebtors                                                    page ___
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Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   31
 2.___    Eclipse Advisors,      Eclipse Advisors, LLC                                       Zen Capital c/o Trevor
                                                                                                                               D
          LLC                    11175 Cicero Drive                                          Talbot                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   32
 2.___    Physician              Physician Financial Partners, LLC                           Click Capital Group, LLC
                                                                                                                               D
          Financial              11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
          Partners, LLC          Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   33
 2.___    Kinetic                Kinetic Subsidiary, Inc.                                    Zen Capital c/o Trevor            D
          Subsidiary, Inc.       11175 Cicero Drive                                          Talbot                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   34
 2.___    Zeroholding, LLC       Zeroholding, LLC                                            Click Capital Group, LLC
                                                                                                                               D
                                 11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   35
 2.___    Phillip Miles          Phillip Miles                                               Click Capital Group, LLC  D
                                 300 Hayward Lane                                                                             ✔ E/F
                                                                                                                              
                                 Alpharetta, GA 30022                                                                          G




   36
 2.___    Zeroholding, LLC       Zeroholding, LLC                                            Click Capital Group, LLC  D
                                 11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   37
 2.___    RJJ Capital, Inc.      RJJ Capital, Inc.                                           Click Capital Group, LLC
                                                                                                                               D
                                 11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   38
 2.___
          Zeroholding, LLC       Zeroholding, LLC                                            CITY CAPITAL NY, LLC  D
                                 11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022




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               Curepoint, LLC                        Document     Page 36 of 72        22-56501
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   39
 2.___    IBS Solutions, Inc. IBS Solutions, Inc.                                            CITY CAPITAL NY, LLC
                                                                                                                               D
                              11175 Cicero Drive                                                                              ✔ E/F
                                                                                                                              
                              Suite 100                                                                                        G
                              Alpharetta, GA 30022


   40
 2.___    Medical                Medical Management Institute                                CITY CAPITAL NY, LLC
                                                                                                                               D
          Management             3180 MATHIESON DR UNIT 712                                                                   ✔ E/F
                                                                                                                              
          Institute              Alpharetta, GA 30022                                                                          G




   41
 2.___    Mittere Tax &          Mittere Tax & Advisory, LLC                                 CITY CAPITAL NY, LLC  D
          Advisory, LLC          11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   42
 2.___    Eclipse Advisors,      Eclipse Advisors, LLC                                       CITY CAPITAL NY, LLC
                                                                                                                               D
          LLC                    11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   43
 2.___    Phillip Miles          Phillip Miles                                               CITY CAPITAL NY, LLC  D
                                 300 Hayward Lane                                                                             ✔ E/F
                                                                                                                              
                                 Alpharetta, GA 30022                                                                          G




   44
 2.___    HST, Inc.              HST, Inc.                                                   Zen Capital c/o Trevor            D
                                 11175 Cicero Drive                                          Talbot                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   45
 2.___    ZFS Inc. d/b/a         ZFS Inc. d/b/a ZFS Inc Huntsville                           Click Capital Group, LLC
                                                                                                                               D
          ZFS Inc Huntsville     4282 Segovia Terrace                                                                         ✔ E/F
                                                                                                                              
                                 Las Vegas, NV 89121                                                                           G




   46
 2.___
          Brown Business         Brown Business Development, LLC                             Click Capital Group, LLC  D
          Development,           11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
          LLC                    Suite 100                                                                                     G
                                 Alpharetta, GA 30022




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               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   47
 2.___    Wallace Family         Wallace Family Enterprise, LLC                              Click Capital Group, LLC
                                                                                                                               D
          Enterprise, LLC        421 NW 13th Street                                                                           ✔ E/F
                                                                                                                              
                                 Suite 210                                                                                     G
                                 Oklahoma City, OK 73103


   48
 2.___    ZFS Inc.               ZFS Inc.                                                    Click Capital Group, LLC
                                                                                                                               D
                                 4282 Segovia Terrace                                                                         ✔ E/F
                                                                                                                              
                                 Las Vegas, NV 89121                                                                           G




   49
 2.___    ZFS Inc. d/b/a         ZFS Inc. d/b/a ZFS Inc Oklahoma                             Click Capital Group, LLC  D
          ZFS Inc                4282 Segovia Terrace                                                                         ✔ E/F
                                                                                                                              
          Oklahoma               Las Vegas, NV 89121                                                                           G




   50
 2.___    AOA Cares Inc.         AOA Cares Inc.                                              Click Capital Group, LLC
                                                                                                                               D
                                 3330 PRESTON RIDGE ROAD                                                                      ✔ E/F
                                                                                                                              
                                 Suite 300                                                                                     G
                                 Alpharetta, GA 30005


   51
 2.___    3333 Old Milton        3333 Old Milton Hyperbaric, LLC                             Click Capital Group, LLC  D
          Hyperbaric, LLC        3333 Old Milton Parkway                                                                      ✔ E/F
                                                                                                                              
                                 Suite 360                                                                                     G
                                 Alpharetta, GA 30005


   52
 2.___    3333 Physical          3333 Physical Therapy, LLC                                  Click Capital Group, LLC  D
          Therapy, LLC           3333 Old Milton Parkway                                                                      ✔ E/F
                                                                                                                              
                                 Suite 180                                                                                     G
                                 Alpharetta, GA 30005


   53
 2.___    AM Terminal            AM Terminal Holding, LLC                                    Click Capital Group, LLC
                                                                                                                               D
          Holding, LLC           189 American Grain St                                                                        ✔ E/F
                                                                                                                              
                                 East Saint Louis, IL 62206                                                                    G




   54
 2.___
          AOA-AMC, LLC           AOA-AMC, LLC                                                Click Capital Group, LLC  D
                                 3330 Preston Ridge Road                                                                      ✔ E/F
                                                                                                                              
                                 Suite 300                                                                                     G
                                 Alpharetta, GA 30005




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Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




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         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   55
 2.___    DTL Investments,       DTL Investments, LLC                                        Click Capital Group, LLC
                                                                                                                               D
          LLC                    11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   56
 2.___    Innovative             Innovative Business Practices, Inc.                         Click Capital Group, LLC
                                                                                                                               D
          Business               11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
          Practices, Inc.        Alpharetta, GA 30022                                                                          G




   57
 2.___    Knowledge              Knowledge Republic Holdings, LLC                            Click Capital Group, LLC  D
          Republic               11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
          Holdings, LLC          Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   58
 2.___    Los Locos Amigos Los Locos Amigos Cantina, LLC                                     Click Capital Group, LLC
                                                                                                                               D
          Cantina, LLC     1030 BROADWAY                                                                                      ✔ E/F
                                                                                                                              
                           Columbus, GA 31901                                                                                  G




   59
 2.___    Mittere Tax &          Mittere Tax & Advisory, LLC                                 Click Capital Group, LLC  D
          Advisory, LLC          11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   60
 2.___    MRT Acquisition,       MRT Acquisition, LLC                                        Click Capital Group, LLC  D
          LLC                    2813 HIGHWAY 64                                                                              ✔ E/F
                                                                                                                              
                                 Apex, NC 27502                                                                                G




   61
 2.___    PRSOG LLC              PRSOG LLC                                                   Click Capital Group, LLC
                                                                                                                               D
                                 11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   62
 2.___
          The Locklear           The Locklear Company                                        Click Capital Group, LLC  D
          Company                11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022




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Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   63
 2.___    Zeroholding, LLC       Zeroholding, LLC                                            Click Capital Group, LLC
                                                                                                                               D
                                 11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   64
 2.___    Dooley                 Dooley Investment Holdings                                  Click Capital Group, LLC
                                                                                                                               D
          Investment             1071 Ridge Pointe                                                                            ✔ E/F
                                                                                                                              
          Holdings               Athens, GA 30606                                                                              G




   65
 2.___    ZFS Inc. d/b/a         ZFS Inc. d/b/a ZFS Inc Nashville                            Click Capital Group, LLC  D
          ZFS Inc Nashville      4282 Segovia Terrace                                                                         ✔ E/F
                                                                                                                              
                                 Las Vegas, NV 89121                                                                           G




   66
 2.___    IBS of America         IBS of America                                              Click Capital Group, LLC
                                                                                                                               D
                                 3732 Profit Way                                                                              ✔ E/F
                                                                                                                              
                                 Chesapeake, VA 23323                                                                          G




   67
 2.___    Intelligent            Intelligent Network Solutions, Inc.                         Click Capital Group, LLC  D
          Network                2520 Northwinds Parkway                                                                      ✔ E/F
                                                                                                                              
          Solutions, Inc.        Suite 285                                                                                     G
                                 Alpharetta, GA 30009


   68
 2.___    Zeroholding LLC        Zeroholding LLC d/b/a Zerorez                               Click Capital Group, LLC  D
          d/b/a Zerorez          11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022


   69
 2.___    Mark Miles             Mark Miles                                                  Click Capital Group, LLC
                                                                                                                               D
                                 12720 N Douglas Blvd                                                                         ✔ E/F
                                                                                                                              
                                 Jones, OK 73049                                                                               G




   70
 2.___
          Mittere Inc.           Mittere Inc.                                                Click Capital Group, LLC  D
                                 11175 Cicero Drive                                                                           ✔ E/F
                                                                                                                              
                                 Suite 100                                                                                     G
                                 Alpharetta, GA 30022




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               Name




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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   71
 2.___    JCFJR Holdings,        JCFJR Holdings, LLC                                         Click Capital Group, LLC
                                                                                                                               D
          LLC                    24 Drayton St.                                                                               ✔ E/F
                                                                                                                              
                                 Suite 213                                                                                     G
                                 Savannah, GA 31401


   72
 2.___    Lori Miles             Lori Miles                                                  Click Capital Group, LLC
                                                                                                                               D
                                 300 Hayward Lane                                                                             ✔ E/F
                                                                                                                              
                                 Alpharetta, GA 30022                                                                          G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
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 2.___
                                                                                                                               D
                                                                                                                               E/F
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 Official Form 206H                                     Schedule H: Codebtors                                                    page ___
                                                                                                                                       10 of ___
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                                                                                                                                                  AMENDED
         Case 22-56501-pmb                      Doc 82    Filed 10/06/22 Entered 10/06/22 18:41:21                               Desc Main
                                                         Document     Page 41 of 72
 Fill in this information to identify the case and this filing:

              Curepoint, LLC
 Debtor Name __________________________________________________________________

                                         Northern District of Georgia
 United States Bankruptcy Court for the: ________________________________

                              22-56501
 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                                      A/B, D, E/F, G, H
         
         ✔    Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    10/06/2022
        Executed on ______________                          /s/ Phillip Miles
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Phillip Miles
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Designated Manager
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                                                                                                                                                   AMENDED
         Case 22-56501-pmb                    Doc 82        Filed 10/06/22 Entered 10/06/22 18:41:21                              Desc Main
                                                           Document     Page 42 of 72

Fill in this information to identify the case:
             Curepoint, LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Northern District of Georgia District of _________
                                                                              (State)
Case number (If known):   _________________________
                           22-56501                                                              ___________________________________________



                                                                                                                                    
                                                                                                                                    ✔ Check if this is an

                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                  Gross revenue
            may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                            2,256,000.00
           fiscal year to filing date:           01/01/2022
                                           From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2021
                                           From ___________         to     12/31/2021
                                                                           ___________         
                                                                                               ✔ Operating a business                       4,169,185.00
                                                                                                                                   $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/01/2020
                                           From ___________         to     12/31/2020
                                                                           ___________         
                                                                                               ✔ Operating a business
                                                                                                                                            4,045,623.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔   None

                                                                                              Description of sources of revenue   Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the
                                                                                              ___________________________         $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________




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Debtor
                 Curepoint, LLC
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                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                      Dates          Total amount or value        Reasons for payment or transfer
                                                                                                          Check all that apply
     3.1.
                                                        6/30/22
              CLG Servicing, LLC.
             __________________________________________ 5/31/22              $_________________
                                                                              71,597.70                   
                                                                                                          ✔     Secured debt
             Creditor’s name
              1433 Hooper Avenue
                                                                                                               Unsecured loan repayments
              Toms River, NJ 08753                                                                             Suppliers or vendors

                                                                                                               Services

                                                                                                               Other _______________________________


     3.2.

              Alder Opportunity LP c/o Marna Friedman
                                                           8/12/22
                                                                             $_________________
                                                                              74,280.05                        Secured debt
             __________________________________________ 8/9/22
             Creditor’s name                               8/3/22                                                  Unsecured loan repayments
              3405 Dallas Highway
              Suite 827
                                                           8/2/22                                                  Suppliers or vendors
                                                           7/26/22
              Marietta, GA 30064                           7/20/22                                                 Services
                                                           7/15/22                                        
                                                                                                          ✔                Other
                                                                                                                    Other _______________________________
                                                           6/28/22
                                                           6/23/22
 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                       Dates          Total amount or value        Reasons for payment or transfer
     4.1.
             See Exhibits Attached to SOFA 4
             __________________________________________     _________         0.00
                                                                            $__________________
             Insider’s name

                                                            _________

                                                            _________


             Relationship to debtor
             __________________________________________



     4.2.    See attached
             __________________________________________
             Insider’s name
                                                            _________       $__________________

                                                            _________

                                                            _________




             Relationship to debtor

             __________________________________________



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 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                  Date              Value of property
     5.1.

            __________________________________________                                                                      ______________    $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                                 _______________     $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                   Date action was      Amount
                                                                                                                            taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                              Nature of case                           Court or agency’s name and address               Status of case
            AMOA Finance, LLC, Et al. vs.                                                    Fulton County Superior Court
     7.1.   CurePoint, LLC                           Contract/Account                                                                             Pending

                                                                                                                                                  On appeal

             Case number                                                                                                                       
                                                                                                                                               ✔   Concluded


      2018-CV-303289
             _________________________________

             Case title                                                                       Court or agency’s name and address
            Mark McCord vs CurePoint                                                         Fulton County Superior Court                      
                                                                                                                                               ✔   Pending
     7.2.
                                                                                                                                                  On appeal

             Case number
                                                                                                                                                  Concluded
                                                     Damages

      2019-CV-330824
             _________________________________


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                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



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               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Rountree, Leitman, Klein & Geer, LLC
            __________________________________________
   11.1.                                                                                                                 08/2022
                                                                                                                         ______________      $_________
                                                                                                                                               20,000.00
            Address

            2987 Clairmont Road, Suite 350
            Atlanta, GA 30329




            Email or website address
            wgeer@rlkglaw.com
            _________________________________

            Who made the payment, if not debtor?

            Zeroholding, LLC- Returned Post-Petition
            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




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               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


          None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.     PointOne Capital
            __________________________________________                                                                    ________________      5,749.00
                                                                                                                                               $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




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                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
     ✔ diagnosing or treating injury, deformity, or disease, or
     
      providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
     
     ✔     Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care
                                                             Radiation Oncology Clinic
   15.1.    Curepoint Radiation Center
            ________________________________________                                                                                     ____________________
            Facility name

            2406 Bellevue Road                               Location where patient records are maintained (if different from facility
            Suite 7                                          address). If electronic, identify any service provider.                     How are records kept?
            Dublin, GA 31021
                                                             Server
                                                                                                                                         Check all that apply:

                                                                                                                                         ✔
                                                                                                                                            Electronically
                                                                                                                                            Paper

                                                             Nature of the business operation, including type of services the            If debtor provides meals
            Facility name and address                        debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

          No.
     
     ✔                                                                      Medical and Personal Information
           Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                 
                 ✔   Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                 
                 ✔   No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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                                                                                                  Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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Debtor
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              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Mittere Tax & Advisory                                                                          From _______
   26a.1.     __________________________________________________________________________________
              Name
              11175 Cicero Drive, Suite 100, Alpharetta, GA 30022                                             To _______




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                    Name and address                                                                          Dates of service


                    Mittere Tax & Advisory                                                                    From _______
         26b.1.     ______________________________________________________________________________
                    Name
                    11175 Cicero Drive, Suite 100, Alpharetta, GA 30022                                       To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     Mittere Tax & Advisory
                    ______________________________________________________________________________
                    Name
                     11175 Cicero Drive, Suite 100, Alpharetta, GA 30022




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                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                   None

                     Name and address


           26d.1.    Newtek Small Business Finance
                     ______________________________________________________________________________
                     Name
                      4800 T-Rex Avenue Suite 120, Boca Raton, FL 33431




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any
 Radiation Business Solutions, Inc.          1044 Jackson Felts Rd. Joelton, TN 37080                Member                                  4.99


 Physician Financial Partners                11175 Cicero Drive STE 100, Alpharetta, GA 30022        Member                                  95.01




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                Address                                                 interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
     
     ✔     Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value

   30.1.    Radiation Business Solutions
            ______________________________________________________________            167,748.71
                                                                                      _________________________          _____________
            Name


                                                                                                                         _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________
            Billing Processor
            ______________________________________________________________                                               _____________
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
                                                                                                                                                         AMENDED
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Debtor
                   Curepoint, LLC
                   _______________________________________________________                                                 22-56501
                                                                                                    Case number (if known)_____________________________________
                   Name




              Name and address of recipient                                                 72,115.50
                                                                                            __________________________     _____________

   30.2        Michael Miles
              ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________
              Employee
              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
            No
     
     ✔       Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund
              American Professional Associates
              ______________________________________________________________                             EIN: XX-XXXXXXX
                                                                                                              ____________________________




 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       10/06/2022
                               _________________
                                MM / DD / YYYY



              /s/ Phillip Miles
              ___________________________________________________________                              Phillip Miles
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Designated Manager
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




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                                                                                                                AMENDED
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                                    Continuation Sheet for Official Form 207
3) Certain payments or transfers to creditors within 90 days before filing this case

Lafayette Bank, 340 West        $45,991.65                              Secured debt
Main Street, Mayo, FL
32066

Arvest Equipment Finance,       $27,184.96                              Secured debt
 PO Box 11110, Fort
Smith, AR 72745

American Small Business         $17,000.00
Resources,

CDG,                            $24,000.00

Culhane Meadows PLLC,           $50,000.00

Innovatum Capital               $10,000.00
Partners LLC,

Medical and Pharmacy            $10,000.00
Legal,

OnDeck Capital,                 $13,666.04

Plexe, LLC,                     $85,422.85

World Business Solutions,       $7,865.00



7) Legal Actions

Knox, Et al. vs American Professional Associates vs. CurePoint, Et al.

2018-CV-301737 & 1:19-CV-04890-WMR

Employment/Wages

Fulton County Superior Court

Concluded

-------

AMOA Finance vs CurePoint

2021-CV-353534

Contract/Account

Fulton County Superior Court

Pending

-------

Georgia Patient Preservation Note Holder, LLC vs. CurePoint, LLC, Et al.




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                                        Continuation Sheet for Official Form 207
19-CG-0026-JH

Contract

Laurens County Superior Court

Concluded

-------

AbbVie vs. Atlanta Oncology Associates v. CurePoint

19-EV-001519

Account

Fulton County State Court

Concluded

-------

Mark McCord vs CurePoint

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17) Pension Contributions

American Professional               XX-XXXXXXX                              Terminated
Associates


30) Payments, distributions, or withdrawals credited or given to insiders

Name and Address:

Physicians Financial Partners, LLC

11175 Cicero Drive
Suite 100
Alpharetta, GA 30022

Amount of money or description: $16,000.00

Dates:     - ,        - ,       -

Reason:

---

Name and Address:

Jamila Dadabhoy


Amount of money or description: $102,408.48

Dates:     - ,        - ,       -




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                                                                                                                AMENDED
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Reason:

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Curepoint
Due To/(From)
1.01.19-8.19.2022

          Date      Amount                 Entity              Due To (From)        Total- 1/1/19 to 8/19/22
1/2/19                 235,052.62           MEC          MEC                       $                    47,112
1/2/19                      (7,000)    Northwinds        Northwinds                                    (41,083)
1/3/19                     (38,500)   Eclipse Staffing   Mittere                                      (300,463)
1/7/19                      (5,000)    Northwinds        Eclipse Staffing                          (1,829,573)
1/8/19                     (17,500)    Northwinds        Zeroholding LLC                                 4,563
1/9/19                      (1,800)    Northwinds        PFP                                            23,068
1/11/19                    (10,000)    Northwinds        Mittere Tax                                      (150)
1/14/19                    (39,200)   Eclipse Staffing   MMI                                           (11,950)
1/14/19                     (2,000)    Northwinds
1/15/19                     (3,160)   Eclipse Staffing                             $               (2,108,477)
1/15/19                    (16,000)    Northwinds
1/16/19                    (16,000)    Northwinds
1/16/19                     (4,500)    Northwinds
1/17/19                    (26,000)   Eclipse Staffing   Eclipse Staffing Payroll- Curepoint
1/18/19                    (20,000)    Northwinds              2022 Payroll                  2021 Payroll
1/18/19                     (6,200)    Northwinds                          497,099                  857,198.13
1/23/19                     (4,000)    Northwinds
1/24/19                     (2,500)         MEC
1/24/19                     (8,000)         MEC                2020 Payroll               2019 Payroll
1/25/19                     (1,700)         MEC                       1,045,362                     915,855
1/30/19                     (4,000)         MEC
1/31/19                    (23,000)   Eclipse Staffing
1/31/19                     (4,000)     Mittere Inc
2/4/19                      (1,500)     Mittere Inc
2/5/19                     (27,800)         MEC
2/8/19                       1,600      Mittere Inc
2/11/19                      6,500      Mittere Inc
2/14/19                    (39,000)   Eclipse Staffing
2/14/19                    (42,000)   Eclipse Staffing
2/14/19                    (16,900)         MEC
2/14/19                     (2,500)     Mittere Inc
2/15/19                    (31,000)         MEC
2/19/19                     (2,700)         MEC
2/19/19                     (1,500)     Mittere Inc
2/20/19                     (2,200)     Mittere Inc
2/25/19                      8,000      Mittere Inc
2/26/19                       (800)     Mittere Inc
3/12/19                     (2,200)         MEC
3/13/19                     (9,800)    Northwinds
3/14/19                    (40,400)   Eclipse Staffing
3/15/19                    (42,400)   Eclipse Staffing
3/15/19                    (29,000)    Northwinds
3/18/19                    (33,000)    Northwinds
3/20/19                    (28,100)    Northwinds
3/25/19                     (5,900)    Northwinds
3/25/19                    (23,400)    Northwinds
3/25/19                     (3,200)    Northwinds
3/27/19                     (1,500)    Northwinds
3/28/19                    (41,000)    Northwinds
3/28/19                     (4,600)    Northwinds
3/29/19                     (5,900)    Northwinds
4/5/19                      (8,000)    Northwinds
4/8/19                  37,675.00           MEC
4/8/19                      (8,000)    Northwinds
4/8/19                      (4,000)    Northwinds
4/8/19                     (27,000)    Northwinds
4/9/19                      (1,800)    Northwinds
4/10/19                     (1,600)    Northwinds
4/11/19                    (38,600)   Eclipse Staffing
4/15/19                    (40,900)   Eclipse Staffing
4/16/19                    (10,000)     Mittere Inc
4/16/19                    (14,600)    Northwinds
4/19/19                    (37,000)    Northwinds
4/19/19                     (6,600)    Northwinds
4/23/19                     (2,800)    Northwinds
4/25/19                    (29,500)   Eclipse Staffing
4/25/19                     (3,600)    Northwinds
4/25/19                    (13,900)    Northwinds
4/30/19                     (7,800)    Northwinds
5/1/19                 (38,132.55)          MEC
5/1/19                  37,675.00           MEC
5/1/19                      38,133      Mittere Inc
5/1/19                      (5,000)     Mittere Inc
5/7/19                     (14,600)    Northwinds
5/9/19                     (34,500)   Eclipse Staffing
5/10/19                       (650)   Eclipse Staffing
5/10/19                     (1,000)    Northwinds
5/13/19                     (2,900)    Northwinds
5/15/19                    (20,000)   Eclipse Staffing
5/17/19                    (16,000)         MEC
5/17/19                    (18,500)    Northwinds
5/20/19                    (29,700)    Northwinds
5/22/19                    (25,000)   Eclipse Staffing
5/22/19                     (4,480)     Mittere Inc
5/22/19                     (5,900)     Mittere Inc
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5/23/19              9,800      Mittere Inc
5/28/19             (2,000)     Mittere Inc
5/28/19           (12,000)     Northwinds
5/30/19             (1,000)     Mittere Inc
5/31/19             (2,500)     Mittere Inc
5/31/19           (14,500)     Northwinds
5/31/19           (12,000)     Northwinds
6/1/19         (38,132.55)          MEC
6/3/19            (16,400)     Northwinds
6/5/19            (40,000)    Eclipse Staffing
6/5/19          37,675.00           MEC
6/5/19              (3,500)     Mittere Inc
6/6/19                (860)     Mittere Inc
6/6/19            (29,700)     Northwinds
6/7/19              (2,500)    Northwinds
6/10/19             (1,800)     Mittere Inc
6/11/19               (800)     Mittere Inc
6/12/19             (1,200)     Mittere Inc
6/12/19             (2,600)    Northwinds
6/13/19               (850)     Mittere Inc
6/17/19           (39,750)    Eclipse Staffing
6/17/19             (1,800)     Mittere Inc
6/17/19           (20,500)     Northwinds
6/19/19             (1,800)     Mittere Inc
6/21/19               (543)     Mittere Inc
6/27/19            25,000      Northwinds
6/28/19            15,000      Northwinds
7/1/19         (38,132.55)          MEC
7/2/19          37,675.00           MEC
7/3/19            (15,000)    Eclipse Staffing
7/15/19           (39,900)    Eclipse Staffing
7/16/19           (12,800)     Northwinds
7/17/19           (33,700)    Eclipse Staffing
7/18/19           (13,000)     Northwinds
7/22/19             (1,800)    Northwinds
7/23/19             (4,200)    Northwinds
7/23/19           (17,000)     Northwinds
7/29/19            27,000       Mittere Inc
8/1/19             18,000       Mittere Inc
8/15/19              2,752          PFP
8/20/19            37,675           MEC
08/20/2019      37,675.00           MEC
08/27/2019     (38,132.55)          MEC
8/29/19           (10,000)    Eclipse Staffing
09/12/2019      37,675.00           MEC
9/16/19           (35,500)    Eclipse Staffing
09/25/2019     (38,132.55)          MEC
9/26/19           (15,000)    Eclipse Staffing
9/30/19            37,675           MEC
10/10/19          (20,000)    Eclipse Staffing
10/11/19          (50,000)    Eclipse Staffing
10/11/2019      37,675.00           MEC
10/16/19          (28,000)     Northwinds
10/21/19          (14,000)     Northwinds
10/24/19          (15,000)    Eclipse Staffing
10/30/2019     (38,132.55)          MEC
10/31/19           37,675           MEC
11/6/19           (10,500)     Northwinds
11/7/19           (42,000)    Eclipse Staffing
11/12/19          (28,100)     Northwinds
11/13/19          (10,000)          PFP
11/14/19          (40,000)    Eclipse Staffing
11/18/19          (26,500)          MEC
11/21/19          (20,000)    Eclipse Staffing
11/26/2019      37,675.00           MEC
11/30/2019     (38,132.55)          MEC
12/5/19           (32,100)    Eclipse Staffing
12/6/19               (300)   Eclipse Staffing
12/6/19           (28,100)     Northwinds
12/9/19               (350)   Eclipse Staffing
12/16/19          (40,000)    Eclipse Staffing
12/16/19          (19,300)     Northwinds
12/17/19          (23,000)     Northwinds
12/19/19          (37,200)    Eclipse Staffing
12/19/2019      37,675.00           MEC
12/19/19          (28,500)     Northwinds
12/30/2019     (38,132.55)          MEC
12/30/19            (3,100)    Northwinds
12/30/19          (35,000)     Northwinds
12/31/19          (14,000)     Northwinds
1/2/20         (43,900.00)    Eclipse Staffing
1/3/20         (33,100.00)     Northwinds
1/3/20          (9,700.00)     Northwinds
1/6/20         (15,300.00)     Northwinds
1/8/20          (8,600.00)     Northwinds
1/9/20          (1,000.00)     Northwinds
1/10/20        (38,000.00)     Northwinds
1/14/20        (10,200.00)     Northwinds
1/15/20         (6,707.23)          MEC
1/15/20        (23,300.00)     Northwinds
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1/16/20        (75,600.00)   Eclipse Staffing
1/16/20        (56,000.00)    Northwinds
01/22/2020     (16,000.00)    Northwinds
1/24/20        (12,900.00)    Northwinds
1/27/20         36,675.00          MEC
1/27/20        (20,000.00)    Northwinds
1/29/20        (38,132.55)         MEC
1/29/20        (22,800.00)    Northwinds
1/30/20        (36,500.00)   Eclipse Staffing
1/30/20        (22,300.00)    Northwinds
1/31/20        (26,000.00)    Northwinds
2/3/20         (42,800.00)    Northwinds
2/4/20            (500.00)     Mittere Inc
2/5/20         (27,000.00)    Northwinds
02/06/2020        (800.00)    Northwinds
2/10/20            500.00      Mittere Inc
2/13/20         (7,000.00)   Eclipse Staffing
2/15/20         (6,707.23)         MEC
2/18/20        (42,500.00)   Eclipse Staffing
2/18/20          3,331.70      Mittere Inc
02/18/2020      (3,000.00)    Northwinds
02/18/2020     (35,500.00)    Northwinds
02/19/2020     (17,200.00)    Northwinds
02/19/2020      (3,500.00)    Northwinds
02/20/2020      36,675.00          MEC
02/20/2020     (10,500.00)    Northwinds
02/21/2020        (500.00)    Northwinds
02/25/2020      (3,000.00)    Northwinds
02/27/2020     (38,800.00)   Eclipse Staffing
02/27/2020     (38,132.55)         MEC
02/27/2020     (13,000.00)    Northwinds
02/27/2020     (16,000.00)    Northwinds
02/28/2020      (6,000.00)    Northwinds
03/13/2020     (24,250.00)   Eclipse Staffing
03/13/2020      (5,200.00)         MEC
03/15/2020      (6,707.23)         MEC
03/18/2020      (6,100.00)         MEC
03/18/2020     (10,300.00)         PFP
03/19/2020     (42,400.00)   Eclipse Staffing
03/23/2020      (1,300.00)         MEC
03/24/2020      (1,800.00)         MEC
03/25/2020      (4,900.00)         MEC
03/26/2020     (41,000.00)   Eclipse Staffing
03/26/2020     (16,000.00)     Mittere Inc
04/01/2020      40,000.00      Mittere Inc
04/02/2020         200.00      Mittere Inc
04/09/2020     (23,300.00)   Eclipse Staffing
04/10/2020      (1,700.00)     Mittere Inc
04/13/2020      (8,500.00)         MEC
04/14/2020     (11,000.00)     Mittere Inc
04/15/2020     (41,300.00)   Eclipse Staffing
04/15/2020      (5,000.00)         MEC
04/15/2020      (6,707.23)         MEC
04/15/2020     (30,000.00)     Mittere Inc
04/16/2020        (700.00)         MEC
04/21/2020      (8,000.00)     Mittere Inc
04/23/2020     (10,000.00)   Eclipse Staffing
04/23/2020     (25,500.00)     Mittere Inc
04/30/2020     (14,862.30)    Northwinds
05/04/2020      (4,500.00)     Mittere Inc
05/06/2020       5,000.00      Mittere Inc
05/07/2020     (38,350.00)   Eclipse Staffing
05/15/2020     (39,900.00)   Eclipse Staffing
05/15/2020      (6,707.23)         MEC
05/19/2020       4,000.00      Mittere Inc
05/20/2020      12,000.00      Mittere Inc
05/21/2020       1,000.00      Mittere Inc
05/21/2020      10,500.00      Mittere Inc
05/22/2020      (2,000.00)     Mittere Inc
05/26/2020      (1,000.00)     Mittere Inc
05/27/2020      (7,000.00)         MEC
05/27/2020      (1,000.00)     Mittere Inc
05/28/2020      (7,000.00)     Mittere Inc
05/29/2020        (500.00)    Northwinds
06/03/2020      (7,300.00)         MEC
06/03/2020      (9,000.00)     Mittere Inc
06/05/2020     (38,000.00)   Eclipse Staffing
06/05/2020     (40,000.00)     Mittere Inc
06/05/2020      40,000.00      Mittere Inc
06/15/2020      (6,707.23)         MEC
06/15/2020      (6,000.00)     Mittere Inc
06/16/2020      (1,500.00)         MEC
06/17/2020      (3,900.00)         MEC
06/18/2020     (24,400.00)   Eclipse Staffing
06/18/2020     (32,600.00)     Mittere Inc
06/19/2020      (1,800.00)    Northwinds
06/24/2020     (18,900.00)         MEC
06/30/2020      (6,000.00)   Eclipse Staffing
07/01/2020       9,900.00      Mittere Inc
07/02/2020       1,609.18      Mittere Inc
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07/06/2020      (1,200.00)     Mittere Inc
07/06/2020     (29,000.00)    Northwinds
07/07/2020     (40,700.00)   Eclipse Staffing
07/07/2020     (17,000.00)         MEC
07/15/2020      (6,707.23)         MEC
07/16/2020     (35,050.00)   Eclipse Staffing
07/16/2020     (40,500.00)     Mittere Inc
07/20/2020       3,000.00      Mittere Inc
07/20/2020      30,000.00      Mittere Inc
07/20/2020      25,000.00      Mittere Inc
07/20/2020      20,600.00      Mittere Inc
07/22/2020     (41,300.00)   Eclipse Staffing
7/22/20        203,760.00          MEC
07/28/2020       7,500.00      Mittere Inc
07/28/2020         500.00      Mittere Inc
07/30/2020      (3,500.00)   Eclipse Staffing
07/31/2020         174.15      Mittere Inc
07/31/2020        (500.00)     Mittere Inc
07/31/2020      (1,000.00)     Mittere Inc
08/03/2020      (7,200.00)     Mittere Inc
08/04/2020        (200.00)     Mittere Inc
08/05/2020      (1,500.00)         MEC
08/05/2020      (1,600.00)     Mittere Inc
08/05/2020     (15,500.00)     Mittere Inc
08/07/2020      (4,500.00)         MEC
08/10/2020      (8,300.00)         MEC
08/10/2020      (8,081.45)         MEC
08/10/2020        (500.00)     Mittere Inc
08/11/2020      20,000.00     Northwinds
08/12/2020        (250.00)     Mittere Inc
08/12/2020      10,000.00     Northwinds
08/15/2020      (6,707.23)         MEC
08/19/2020     (33,000.00)   Eclipse Staffing
08/19/2020      20,000.00      Mittere Inc
08/20/2020      (4,000.00)   Eclipse Staffing
08/24/2020      (4,000.00)         MEC
08/28/2020     (28,000.00)    Northwinds
08/31/2020      96,000.00          PFP
09/10/2020     (39,200.00)   Eclipse Staffing
09/10/2020      (8,081.45)         MEC
09/10/2020     (41,300.00)     Mittere Inc
09/11/2020      14,000.00      Mittere Inc
09/15/2020      (1,500.00)     Mittere Inc
09/15/2020     (16,300.00)     Mittere Inc
09/16/2020        (400.00)   Eclipse Staffing
09/16/2020      20,000.00      Mittere Inc
09/18/2020     (40,100.00)   Eclipse Staffing
09/18/2020      40,000.00      Mittere Inc
09/24/2020      (7,000.00)   Eclipse Staffing
09/25/2020      30,000.00      Mittere Inc
09/28/2020       4,000.00      Mittere Inc
09/28/2020      25,000.00      Mittere Inc
09/30/2020     (15,000.00)         MEC
09/30/2020       5,000.00      Mittere Inc
09/30/2020      28,800.00      Mittere Inc
10/05/2020      23,000.00      Mittere Inc
10/08/2020     (28,900.00)   Eclipse Staffing
10/08/2020     (46,500.00)     Mittere Inc
10/13/2020      (8,081.45)         MEC
10/15/2020      (7,100.00)     Mittere Inc
10/22/2020     (22,200.00)   Eclipse Staffing
10/22/2020     (42,600.00)     Mittere Inc
11/02/2020      (2,500.00)     Mittere Inc
11/03/2020      (5,800.00)         MEC
11/03/2020      (4,000.00)     Mittere Inc
11/03/2020      (6,000.00)     Mittere Inc
11/5/20        (42,000.00)     Mittere Inc
11/09/2020      (2,050.00)         MEC
11/09/2020      (6,100.00)     Mittere Inc
11/10/2020      (8,081.45)         MEC
11/10/2020      10,000.00      Mittere Inc
11/12/2020       1,500.00      Mittere Inc
11/16/2020       2,500.00      Mittere Inc
11/16/2020     (10,000.00)     Mittere Inc
11/19/2020     (22,350.00)   Eclipse Staffing
11/19/2020      (5,000.00)         MEC
11/20/2020     (41,550.00)     Mittere Inc
11/25/2020       8,000.00      Mittere Inc
11/27/2020     (10,000.00)         MEC
11/27/2020       3,000.00      Mittere Inc
11/27/2020      12,000.00      Mittere Inc
11/27/2020     (16,000.00)    Northwinds
11/30/2020      (5,000.00)         MEC
11/30/2020     (15,150.00)     Mittere Inc
11/30/2020     (15,000.00)     Mittere Inc
11/30/2020      (6,500.00)    Northwinds
12/01/2020     (10,000.00)         MEC
12/03/2020     (40,000.00)   Eclipse Staffing
12/03/2020      (5,000.00)         MEC
12/03/2020     (86,700.00)     Mittere Inc
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12/04/2020      (6,800.00)     Mittere Inc
12/07/2020      (7,500.00)     Mittere Inc
12/10/2020      (8,081.45)         MEC
12/10/2020      (6,000.00)     Mittere Inc
12/10/2020      (6,000.00)     Mittere Inc
12/11/2020     (10,000.00)     Mittere Inc
12/14/2020      (3,500.00)         MEC
12/14/2020      (6,000.00)     Mittere Inc
12/14/2020      (2,000.00)    Northwinds
12/17/2020     (33,500.00)   Eclipse Staffing
12/17/2020     (11,000.00)         MEC
12/17/2020     (25,000.00)     Mittere Inc
12/17/2020      (5,000.00)     Mittere Inc
12/21/2020     (17,000.00)     Mittere Inc
12/21/2020      (2,000.00)    Northwinds
12/22/2020      (6,700.00)         MEC
12/22/2020     (10,400.00)         PFP
12/24/2020      (4,100.00)         MEC
12/30/2020      (3,000.00)         MEC
12/31/2020     (26,100.00)   Eclipse Staffing
12/31/2020     (38,000.00)     Mittere Inc
12/31/2020      (1,600.00)    Northwinds
01/04/2021       2,690.00          MEC
01/04/2021     (15,000.00)        MEC
01/04/2021      30,000.00      Mittere Inc
01/07/2021      15,000.00      Mittere Inc
01/12/2021       2,000.00      Mittere Inc
01/12/2021       2,000.00      Mittere Inc
01/12/2021       1,500.00      Mittere Inc
01/12/2021      40,000.00      Mittere Inc
01/12/2021      11,500.00      Mittere Inc
01/13/2021      30,000.00      Mittere Inc
01/13/2021       3,000.00      Mittere Inc
01/15/2021       1,000.00      Mittere Inc
01/15/2021      16,000.00      Mittere Inc
01/19/2021       3,000.00      Mittere Inc
01/20/2021       6,000.00      Mittere Inc
01/28/2021     (25,000.00)   Eclipse Staffing
01/28/2021     (28,000.00)     Mittere Inc
01/29/2021     (15,000.00)         MEC
01/29/2021     (10,000.00)     Mittere Inc
01/29/2021     (15,000.00)     Mittere Inc
01/29/2021      50,000.00      Mittere Inc
01/29/2021     (10,300.00)    Northwinds
01/29/2021     (10,500.00)         PFP
01/31/2021     (18,506.00)     Mittere Inc
02/03/2021     (15,000.00)     Mittere Inc
02/04/2021      (8,000.00)     Mittere Inc
02/05/2021     (16,000.00)     Mittere Inc
02/11/2021     (42,200.00)   Eclipse Staffing
02/12/2021     (42,350.00)   Eclipse Staffing
02/12/2021       1,500.00      Mittere Inc
02/12/2021       6,500.00      Mittere Inc
02/12/2021      10,000.00      Mittere Inc
02/16/2021      10,000.00      Mittere Inc
02/25/2021     (36,300.00)   Eclipse Staffing
02/26/2021      24,000.00      Mittere Inc
03/02/2021       5,000.00      Mittere Inc
03/04/2021     (18,000.00)     Mittere Inc
03/05/2021     (14,000.00)     Mittere Inc
03/05/2021     (28,000.00)    Northwinds
03/08/2021      (6,000.00)         MEC
03/08/2021     (11,300.00)     Mittere Inc
03/08/2021      (8,000.00)     Mittere Inc
03/10/2021      (4,200.00)         MEC
03/10/2021     (11,000.00)     Mittere Inc
03/11/2021     (49,800.00)   Eclipse Staffing
03/11/2021     (51,600.00)     Mittere Inc
03/12/2021      (1,100.00)         MEC
03/12/2021      (8,000.00)     Mittere Inc
03/15/2021     (42,400.00)   Eclipse Staffing
03/15/2021      (4,000.00)         MEC
03/15/2021       9,000.00      Mittere Inc
03/15/2021      (1,800.00)    Northwinds
03/25/2021     (37,000.00)   Eclipse Staffing
03/26/2021      (3,000.00)     Mittere Inc
03/26/2021     (16,000.00)     Mittere Inc
03/29/2021      (4,000.00)         MEC
03/29/2021      (2,000.00)     Mittere Inc
03/29/2021     (10,300.00)    Northwinds
03/30/2021      (4,000.00)     Mittere Inc
03/30/2021      (1,800.00)    Northwinds
03/31/2021      (6,000.00)     Mittere Inc
04/01/2021      26,000.00      Mittere Inc
04/02/2021      18,000.00      Mittere Inc
04/06/2021      (4,000.00)         MEC
04/07/2021      (5,600.00)     Mittere Inc
04/08/2021     (46,050.00)   Eclipse Staffing
04/08/2021        (650.00)   Eclipse Staffing
04/08/2021     (45,000.00)     Mittere Inc
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04/15/2021      25,500.00      Mittere Inc
04/16/2021      16,000.00      Mittere Inc
04/16/2021     (28,121.17)    Northwinds
04/16/2021     (28,000.00)    Northwinds
04/19/2021      14,000.00     Northwinds
04/20/2021      (7,000.00)         MEC
04/20/2021     (27,000.00)     Mittere Inc
04/21/2021      (8,000.00)     Mittere Inc
04/22/2021       5,800.00      Mittere Inc
04/23/2021     (39,500.00)   Eclipse Staffing
04/23/2021     (18,000.00)     Mittere Inc
04/26/2021      (4,800.00)         MEC
04/27/2021      (3,000.00)         MEC
04/27/2021     (35,000.00)     Mittere Inc
04/28/2021     (25,000.00)     Mittere Inc
04/29/2021      21,800.00      Mittere Inc
04/30/2021     100,000.00      Mittere Inc
04/30/2021      36,000.00      Mittere Inc
05/03/2021       5,000.00      Mittere Inc
05/04/2021      55,000.00      Mittere Inc
05/04/2021      10,000.00      Mittere Inc
05/05/2021      26,000.00      Mittere Inc
05/06/2021      18,500.00      Mittere Inc
05/07/2021      23,500.00      Mittere Inc
05/11/2021       7,000.00      Mittere Inc
05/11/2021      10,000.00      Mittere Inc
05/12/2021      20,000.00      Mittere Inc
05/13/2021      45,000.00      Mittere Inc
05/14/2021      26,000.00      Mittere Inc
05/19/2021      (3,000.00)     Mittere Inc
05/21/2021     (35,000.00)   Eclipse Staffing
05/21/2021        (500.00)   Eclipse Staffing
05/21/2021     (17,472.00)     Mittere Inc
05/21/2021     (25,000.00)     Mittere Inc
05/21/2021     (28,000.00)    Northwinds
05/24/2021      (4,000.00)         MEC
05/24/2021      (6,500.00)         MEC
05/24/2021     (25,000.00)     Mittere Inc
05/24/2021     (10,500.00)    Northwinds
05/24/2021     (10,500.00)         PFP
05/25/2021      (1,000.00)     Mittere Inc
05/25/2021     (13,000.00)    Northwinds
05/26/2021      (1,500.00)     Mittere Inc
05/26/2021     (20,000.00)     Mittere Inc
05/28/2021        (600.00)     Mittere Inc
05/28/2021     (30,000.00)     Mittere Inc
06/01/2021      (6,000.00)         MEC
06/01/2021      (1,500.00)     Mittere Inc
06/01/2021      (8,000.00)     Mittere Inc
06/02/2021        (800.00)     Mittere Inc
06/02/2021      25,000.00      Mittere Inc
06/03/2021      (3,300.00)   Eclipse Staffing
06/03/2021      42,000.00          MEC
06/04/2021      40,000.00          MEC
06/04/2021      (1,600.00)     Mittere Inc
06/04/2021     (10,000.00)     Mittere Inc
06/07/2021      50,400.00      Mittere Inc
06/07/2021      (1,000.00)     Mittere Inc
06/07/2021     (18,000.00)     Mittere Inc
06/08/2021     (20,000.00)     Mittere Inc
06/09/2021      (1,200.00)     Mittere Inc
06/11/2021      (1,200.00)     Mittere Inc
06/17/2021       1,600.00          MEC
06/17/2021      10,500.00          MEC
06/23/2021       5,200.00          MEC
06/28/2021      (1,500.00)     Mittere Inc
06/29/2021        (350.00)     Mittere Inc
07/01/2021        (500.00)     Mittere Inc
07/02/2021     (22,000.00)   Eclipse Staffing
07/02/2021     (41,700.00)     Mittere Inc
07/02/2021      30,000.00      Mittere Inc
07/07/2021       1,000.00    Eclipse Staffing
07/08/2021        (900.00)     Mittere Inc
07/09/2021     100,000.00     Northwinds
07/12/2021      30,000.00     Northwinds
07/13/2021      12,900.00     Northwinds
07/13/2021      10,000.00     Northwinds
07/14/2021      75,000.00     Northwinds
07/15/2021      45,000.00     Northwinds
07/16/2021      50,000.00     Northwinds
07/19/2021      20,000.00      Mittere Inc
07/20/2021      25,000.00      Mittere Inc
07/21/2021      22,000.00      Mittere Inc
07/21/2021      20,000.00     Northwinds
07/22/2021      11,900.00      Mittere Inc
07/23/2021     (21,700.00)   Eclipse Staffing
07/23/2021       2,000.00      Mittere Inc
07/23/2021         500.00      Mittere Inc
07/23/2021      65,000.00      Mittere Inc
07/23/2021         150.00      Mittere Tax
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07/26/2021        (800.00)     Mittere Inc
07/26/2021      26,000.00      Mittere Inc
07/28/2021      20,000.00      Mittere Inc
07/28/2021      10,000.00      Mittere Inc
07/28/2021        (300.00)     Mittere Tax
07/29/2021     (37,000.00)   Eclipse Staffing
07/29/2021      55,000.00      Mittere Inc
07/30/2021       5,000.00          MEC
07/30/2021       2,000.00      Mittere Inc
07/30/2021       8,000.00     Northwinds
08/02/2021      15,200.00      Mittere Inc
08/02/2021       6,500.00      Mittere Inc
08/03/2021      (5,000.00)     Mittere Inc
08/03/2021      (8,000.00)    Northwinds
08/04/2021     (15,000.00)     Mittere Inc
08/09/2021      10,000.00      Mittere Inc
08/10/2021      20,000.00      Mittere Inc
08/12/2021      (8,000.00)     Mittere Inc
08/13/2021      20,000.00      Mittere Inc
08/16/2021      17,000.00      Mittere Inc
08/17/2021      10,000.00      Mittere Inc
08/18/2021      11,900.00      Mittere Inc
08/19/2021      13,000.00      Mittere Inc
08/20/2021       2,800.00      Mittere Inc
08/23/2021       4,500.00      Mittere Inc
08/23/2021       3,000.00      Mittere Inc
08/24/2021       8,500.00      Mittere Inc
08/25/2021      (4,000.00)         MEC
08/26/2021     (35,100.00)   Eclipse Staffing
08/26/2021      (2,700.00)         MEC
08/26/2021     (50,000.00)     Mittere Inc
08/26/2021      (1,000.00)    Northwinds
08/27/2021     (10,000.00)     Mittere Inc
08/27/2021      (2,000.00)     Mittere Inc
08/27/2021      (2,000.00)    Northwinds
08/30/2021      (7,600.00)     Mittere Inc
08/31/2021      (5,900.00)         MEC
08/31/2021     (17,700.00)     Mittere Inc
09/01/2021     790,000.00     Northwinds
09/02/2021     (31,000.00)     Mittere Inc
09/03/2021     (21,600.00)     Mittere Inc
09/07/2021      (8,000.00)     Mittere Inc
09/08/2021     (23,800.00)     Mittere Inc
09/09/2021     (36,500.00)   Eclipse Staffing
09/09/2021      (7,000.00)     Mittere Inc
09/10/2021      (4,900.00)   Eclipse Staffing
09/10/2021     (75,000.00)     Mittere Inc
09/13/2021      (2,500.00)         MEC
09/13/2021      (8,500.00)     Mittere Inc
09/14/2021      (8,000.00)     Mittere Inc
09/15/2021     (21,650.00)   Eclipse Staffing
09/15/2021      (4,000.00)         MEC
09/15/2021      (8,500.00)     Mittere Inc
09/16/2021     (10,000.00)     Mittere Inc
09/17/2021      (5,000.00)         MEC
09/17/2021     (11,000.00)     Mittere Inc
09/20/2021      (5,000.00)         MEC
09/20/2021     (10,500.00)     Mittere Inc
09/21/2021     (10,000.00)     Mittere Inc
09/22/2021     (35,800.00)   Eclipse Staffing
09/22/2021      (3,500.00)         MEC
09/22/2021     (19,000.00)     Mittere Inc
09/23/2021     (30,000.00)     Mittere Inc
09/24/2021      (8,500.00)         MEC
09/24/2021     (17,500.00)     Mittere Inc
09/27/2021     (10,000.00)     Mittere Inc
09/28/2021      (1,000.00)     Mittere Inc
09/28/2021     (16,000.00)     Mittere Inc
09/29/2021     (17,000.00)     Mittere Inc
09/30/2021     (20,000.00)     Mittere Inc
10/04/2021      (3,900.00)         MEC
10/04/2021     (39,000.00)     Mittere Inc
10/06/2021      (6,000.00)     Mittere Inc
10/06/2021     (15,000.00)    Northwinds
10/07/2021     (40,000.00)   Eclipse Staffing
10/15/2021      25,000.00      Mittere Inc
10/18/2021     (21,700.00)   Eclipse Staffing
10/19/2021       2,500.00      Mittere Inc
10/21/2021     (38,000.00)   Eclipse Staffing
10/25/2021      (4,100.00)         MEC
10/25/2021      (4,000.00)     Mittere Inc
10/26/2021      (5,000.00)     Mittere Inc
10/27/2021      (3,300.00)         MEC
10/27/2021      (9,300.00)     Mittere Inc
10/28/2021     (12,000.00)     Mittere Inc
10/29/2021     (10,000.00)         MEC
10/29/2021     (13,000.00)     Mittere Inc
10/29/2021      (8,000.00)         PFP
11/01/2021      (5,000.00)         MEC
11/01/2021     (15,000.00)     Mittere Inc
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11/02/2021     (11,000.00)     Mittere Inc
11/03/2021     (11,000.00)     Mittere Inc
11/04/2021     (34,000.00)   Eclipse Staffing
11/05/2021     (16,000.00)     Mittere Inc
11/10/2021      32,000.00      Mittere Inc
11/12/2021      20,000.00      Mittere Inc
11/15/2021       4,000.00      Mittere Inc
11/16/2021       8,000.00      Mittere Inc
11/17/2021      (5,000.00)         MEC
11/18/2021     (37,150.00)   Eclipse Staffing
11/22/2021      (2,600.00)         MEC
11/22/2021     (60,000.00)     Mittere Inc
11/22/2021      (2,500.00)    Northwinds
11/23/2021      (6,500.00)         MEC
11/23/2021     (15,500.00)     Mittere Inc
11/24/2021     (16,500.00)     Mittere Inc
11/26/2021      (2,600.00)         MEC
11/26/2021     (25,300.00)     Mittere Inc
11/29/2021     (17,000.00)     Mittere Inc
12/01/2021      34,000.00      Mittere Inc
12/02/2021     (27,310.00)   Eclipse Staffing
12/02/2021         250.00      Mittere Inc
12/02/2021      44,000.00      Mittere Inc
12/03/2021      65,000.00     Northwinds
12/09/2021      11,000.00     Northwinds
12/10/2021      (5,900.00)   Eclipse Staffing
12/13/2021      22,000.00     Northwinds
12/14/2021       1,300.00      Mittere Inc
12/14/2021      33,000.00     Northwinds
12/15/2021      (6,500.00)     Mittere Inc
12/15/2021     100,000.00     Northwinds
12/16/2021     (57,500.00)   Eclipse Staffing
12/28/2021      15,000.00     Northwinds
12/29/2021      18,000.00     Northwinds
12/30/2021     (37,600.00)   Eclipse Staffing
12/30/2021     115,000.00     Northwinds
12/31/2021      75,000.00     Northwinds
1/3/22          16,000.00         Nash
1/3/22          20,000.00     Northwinds
1/4/22          13,000.00         Nash
1/6/22          (2,000.00)        MMI
1/6/22          55,000.00         Nash
1/12/22         10,000.00         Nash
1/13/22         10,500.00         Nash
1/18/22         26,000.00         Nash
1/26/22         (8,000.00)         MEC
1/26/22           (600.00)        MMI
1/28/22         35,000.00         Nash
2/1/22          65,000.00         Nash
2/3/22          10,000.00     Northwinds
2/8/22          (2,600.00)        MMI
2/14/22           (400.00)     Mittere Inc
2/15/22        (25,000.00)        Nash
2/17/22         19,000.00      Mittere Inc
2/22/22        (15,000.00)        Nash
2/23/22         (2,000.00)     Mittere Inc
2/24/22        (35,100.00)   Eclipse Staffing
2/24/22         (2,000.00)         MEC
2/24/22        (10,200.00)     Mittere Inc
2/24/22        (48,000.00)    Northwinds
2/25/22        (10,600.00)     Mittere Inc
2/25/22        (20,000.00)        Nash
2/28/22        (10,000.00)         MEC
2/28/22        (10,600.00)     Mittere Inc
2/28/22         (5,000.00)    Northwinds
2/28/22        (25,000.00)    Northwinds
2/28/22         (8,000.00)         PFP
3/1/22         (10,600.00)     Mittere Inc
3/1/22         (16,000.00)    Northwinds
3/2/22          (2,000.00)         MEC
3/2/22         (10,500.00)     Mittere Inc
3/2/22         (30,000.00)    Northwinds
3/7/22         (12,500.00)     Mittere Inc
3/8/22         (10,300.00)     Mittere Inc
3/9/22         (10,500.00)     Mittere Inc
3/10/22        (32,000.00)   Eclipse Staffing
3/10/22        (10,450.00)     Mittere Inc
3/11/22        (10,600.00)     Mittere Inc
3/11/22         (8,000.00)        Nash
3/21/22         10,000.00         Nash
3/22/22         22,000.00         Nash
3/25/22         22,000.00         Nash
3/29/22          5,000.00         Nash
3/31/22         68,000.00     Northwinds
4/1/22          58,000.00     Northwinds
4/4/22          22,000.00     Northwinds
4/7/22            (200.00)   Eclipse Staffing
4/11/22         20,000.00     Northwinds
4/11/22         24,000.00     Northwinds
4/12/22          4,000.00     Northwinds
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4/14/22         10,847.91         Nash
4/18/22         20,000.00     Northwinds
4/19/22          1,000.00         Hunts
4/20/22         10,000.00         Nash
04/25/2022      14,000.00         Nash
04/29/2022      45,000.00         Nash
05/02/2022      28,000.00         Nash
05/04/2022     (30,000.00)    Northwinds
05/05/2022     (35,950.00)   Eclipse Staffing
05/05/2022      (2,600.00)        MMI
05/05/2022     (50,000.00)        Nash
05/06/2022     (25,000.00)    Northwinds
05/09/2022     (20,000.00)    Northwinds
05/10/2022     (30,000.00)    Northwinds
05/11/2022      (5,700.00)   Eclipse Staffing
05/11/2022     (10,000.00)    Northwinds
05/13/2022     (10,000.00)    Northwinds
05/16/2022      (5,000.00)         MEC
05/16/2022     (35,000.00)    Northwinds
05/18/2022      (6,000.00)    Northwinds
05/19/2022     (32,500.00)   Eclipse Staffing
05/19/2022     (22,000.00)    Northwinds
05/20/2022     (45,000.00)    Northwinds
05/26/2022      (3,437.50)     Mittere Inc
05/27/2022       3,437.50      Mittere Inc
05/27/2022      (3,437.50)     Mittere Inc
05/31/2022      (7,000.00)     Mittere Inc
05/31/2022       3,437.50      Mittere Inc
05/31/2022       3,437.50      Mittere Inc
06/01/2022       3,437.50      Mittere Inc
06/01/2022      13,000.00         Nash
06/02/2022       3,437.50      Mittere Inc
06/02/2022      10,000.00         Nash
06/03/2022       3,437.50      Mittere Inc
06/06/2022       3,437.50      Mittere Inc
06/07/2022      (3,437.50)     Mittere Inc
06/07/2022       3,437.50      Mittere Inc
06/08/2022      (2,000.00)         MEC
06/08/2022     (10,100.00)     Mittere Inc
06/08/2022       3,437.50      Mittere Inc
06/08/2022     (25,000.00)        Nash
06/09/2022       3,437.50      Mittere Inc
06/10/2022      (2,500.00)   Eclipse Staffing
06/10/2022      (1,000.00)     Mittere Inc
06/10/2022       3,437.50      Mittere Inc
06/10/2022      (7,984.44)         PFP
06/13/2022      (3,437.50)     Mittere Inc
06/13/2022       3,437.50      Mittere Inc
06/14/2022      (2,000.00)         MEC
6/14/22         (3,437.50)     Mittere Inc
6/14/22          3,437.50      Mittere Inc
06/14/2022     (21,000.00)    Northwinds
6/15/22         (3,437.50)     Mittere Inc
6/15/22          3,437.50      Mittere Inc
06/15/2022     (15,000.00)        Nash
06/16/2022     (30,650.00)   Eclipse Staffing
06/16/2022      (1,500.00)         MEC
6/16/22         (3,437.50)     Mittere Inc
6/16/22          3,437.50      Mittere Inc
06/16/2022     (25,000.00)        Nash
6/17/22         (3,437.50)     Mittere Inc
6/17/22          3,437.50      Mittere Inc
6/21/22         (6,875.00)     Mittere Inc
6/21/22          6,875.00      Mittere Inc
6/22/22          3,437.50      Mittere Inc
06/22/2022      18,000.00         Nash
6/23/22         (3,437.50)     Mittere Inc
6/23/22         (6,875.00)     Mittere Inc
6/23/22          3,437.50      Mittere Inc
6/24/22         (3,437.50)     Mittere Inc
6/24/22          3,437.50      Mittere Inc
6/24/22          3,437.50      Mittere Inc
6/27/22          3,437.50      Mittere Inc
6/28/22         (7,950.00)     Mittere Inc
6/28/22          3,437.50      Mittere Inc
06/28/2022      30,000.00     Northwinds
6/29/22         (3,437.50)     Mittere Inc
6/29/22          3,437.50      Mittere Inc
06/29/2022      15,000.00     Northwinds
6/30/22         (3,437.50)     Mittere Inc
6/30/22          3,437.50      Mittere Inc
06/30/2022      65,000.00     Northwinds
7/1/22          (4,500.00)     Mittere Inc
7/1/22           3,437.50      Mittere Inc
07/01/2022      20,000.00         Nash
07/01/2022      20,000.00         Nash
7/5/22          (6,875.00)     Mittere Inc
7/5/22           6,875.00      Mittere Inc
7/6/22          (3,437.50)     Mittere Inc
7/6/22           3,437.50      Mittere Inc
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7/7/22          (3,437.50)     Mittere Inc
7/7/22           3,437.50      Mittere Inc
07/07/2022      10,000.00         Nash
7/8/22          (4,500.00)     Mittere Inc
7/8/22           3,437.50      Mittere Inc
07/08/2022      (1,700.00)        MMI
7/11/22         (3,437.50)     Mittere Inc
7/11/22          3,437.50      Mittere Inc
07/12/2022      (3,300.00)   Eclipse Staffing
7/12/22         (3,600.00)     Mittere Inc
7/12/22          3,437.50      Mittere Inc
07/13/2022      (2,000.00)         MEC
7/13/22         (3,437.50)     Mittere Inc
7/13/22          3,437.50      Mittere Inc
07/13/2022     (25,000.00)        Nash
07/14/2022     (32,900.00)   Eclipse Staffing
7/14/22         (3,437.50)     Mittere Inc
7/14/22          3,437.50      Mittere Inc
07/14/2022     (55,000.00)        Nash
7/15/22         (4,500.00)     Mittere Inc
7/15/22          3,437.50      Mittere Inc
07/15/2022     (33,000.00)        Nash
7/18/22          3,437.50      Mittere Inc
7/19/22         (3,437.50)     Mittere Inc
7/19/22          3,437.50      Mittere Inc
7/20/22          3,437.50      Mittere Inc
7/20/22          3,437.50      Mittere Inc
07/20/2022      35,000.00         Nash
7/21/22         (3,437.50)     Mittere Inc
7/21/22         (4,000.00)     Mittere Inc
7/21/22          3,437.50      Mittere Inc
07/21/2022      (7,000.00)    Northwinds
7/22/22          3,437.50      Mittere Inc
7/22/22          3,437.50      Mittere Inc
07/22/2022     (13,500.00)        Nash
7/25/22          3,437.50      Mittere Inc
07/25/2022     (17,000.00)    Northwinds
07/28/2022     (22,100.00)   Eclipse Staffing
07/28/2022      (2,500.00)        Nash
07/29/2022     (10,000.00)         MEC
07/29/2022     (31,000.00)        Nash
08/01/2022      (6,600.00)   Eclipse Staffing
08/02/2022     (32,800.00)        Hunts
08/04/2022     (40,500.00)        Hunts
08/04/2022      (1,000.00)        Nash
08/04/2022      (2,884.62)        Nash
08/05/2022        (200.00)         MEC
08/05/2022      (2,450.00)        MMI
08/09/2022      (1,500.00)         MEC
08/10/2022      (4,100.00)   Eclipse Staffing
08/11/2022     (28,300.00)   Eclipse Staffing
08/12/2022     (31,000.00)        Nash
08/15/2022     (15,000.00)        Hunts
08/18/2022     (13,000.00)        Hunts
08/19/2022     (40,000.00)        Hunts
08/19/2022      (1,000.00)         MEC
08/19/2022        (600.00)        Nash
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Alder Opportunity LP c/o Marna Friedman                Curepoint Dublin, LLC
3405 Dallas Highway                                    c/o Michael Miles
Suite 827                                              300 Hayward Lane
Marietta, GA 30064                                     Alpharetta, GA 30022


AMOA Finance LLC.                                      Eclipse Staffing, LLC
3330 Preston Ridge RD                                  11175 Cicero Drive
Alpharetta, GA 30005                                   Suite 100
                                                       Alpharetta, GA 30022

ARROW CAPITAL SOLUTIONS, INC.
9201 EAST DRY CREEK ROAD                               First American Commercial Bancorp, Inc.
Englewood, CO 80112                                    211 High Point Drive
                                                       Victor, NY 14564

Arvest Equipment Finance
PO Box 11110                                           First Liberty Building and Loan
Fort Smith, AR 72745                                   PO Box 2567
                                                       Newnan, GA 30264

Azzure Capital, LLC
c/o REGISTERED AGENTS INC.                             GEL Funding, LLC
90 State Street Suite 700, Office 40                   5308 13TH AVENUE, SUITE 324
Albany, NY 12207                                       Brooklyn, NY 11219


Bankers Healthcare Group, LLC                          Georgia Department of Labor
10234 W State Road 84                                  148 Andrew Young Inter. Blvd
ATTN: Albert Crawford                                  Room 738
Fort Lauderdale, FL 33324                              Atlanta, GA 30303-0000


CHESAPEAKE BANK                                        Georgia Department of Revenue
97 N. MAIN ST.                                         ARCS - Bankruptcy 1800 Century Blvd NE, Suite 9100
Kilmarnock, VA 22482                                   Atlanta, GA 30345


CHTD COMPANY                                           HEWLETT-PACKARD FINANCIAL SERVICES
P.O. BOX 2576                                          COMPANY
Springfield, IL 62708                                  200 CONNELL DRIVE
                                                       Berkeley Heights, NJ 07922

CITY CAPITAL NY, LLC
90 STATE STREET, SUITE 700                             HI BAR CAPITAL LLC
OFFICE 40                                              1825 65TH ST
Albany, NY 12207                                       Brooklyn, NY 11204


CLG Servicing, LLC.                                    Internal Revenue Service
Toms River, NJ 08753                                   CIO
                                                       P.O. Box 7346
                                                       Philadelphia, PA 19101-7346
Click Capital Group, LLC
7901 4th St N.
Ste 300                                                Lafayette Bank
Saint Petersburg, FL 33702                             340 West Main Street
                                                       Mayo, FL 32066


                                                       Mark McCord
                                                       2007 Breckinridge Lane
                                                       Alpharetta, GA 30005
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MEC Capital, Inc.                                      Northwinds Leasing, LLC
11175 Cicero Drive                                     11175 Cicero Drive
Suite 100                                              Suite 100
Alpharetta, GA 30022                                   Alpharetta, GA 30022


MEC Capital, Inc. c/o Michael Miles                    Northwinds Leasing, LLC c/o Michael Miles
300 Hayward Lane                                       300 Hayward Lane
Alpharetta, GA 30022                                   Alpharetta, GA 30022


Medical Management Institute, Inc.                     Parkview Advance
11175 Cicero Drive                                     400 Main Street
Suite 100                                              Stamford, CT 06901
Alpharetta, GA 30022

                                                       Physician Financial Partners, LLC
Medical Management Institute, Inc. c/o Michael Miles   11175 Cicero Drive
250 Pharr Road NE                                      Suite 100
Unit 212                                               Alpharetta, GA 30022
Atlanta, GA 30305

                                                       Plexe, LLC
Mittere Tax & Advisory, LLC                            6295 Greenwood Plaza Blvd
11175 Cicero Drive                                     Suite 100
Suite 100                                              Greenwood Village, CO 80111
Alpharetta, GA 30022

                                                       PointOne Capital, LLC
Mittere, Inc.                                          90 STATE STREET, SUITE 700
11175 Cicero Drive                                     Office 40
Suite 100                                              Albany, NY 12207
Alpharetta, GA 30022

                                                       Premium Merchant Funding, LLC.
Morris Bank                                            40 Wall St. 5th Floor
301 Bellevue Avenue                                    New York, NY 10005
Dublin, GA 31040-0520

                                                       SPARK FUNDING, LLC DBA FUNDAMENTAL CAPITAL
Newtek Small Business Finanance c/o Corporation        100 GARDEN CITY PLAZA #410
Service Company                                        Garden City, NY 11530
2 SUN COURT
Suite 400
Norcross, GA 30092                                     Tom Barton
                                                       150 South Perry Street
                                                       Suite 100
Newtek Small Business Finance                          Lawrenceville, GA 30046
4800 T-Rex Avenue
Suite 120
Boca Raton, FL 33431                                   US Bank, N.A.
                                                       1310 Madrid Street
                                                       Marshall, MN 56258
NFG Advance, LLC
1308 KINGS HWY
Brooklyn, NY 11229                                     US Small Business Administration
                                                       233 Peachtree St. NE., Suite 300
                                                       Atlanta, GA 30303
NORTH AMERICAN BANKING COMPANY
9260 HUDSON RD
Saint Paul, MN 55125
                                                                                                 AMENDED
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Zen Capital c/o Trevor Talbot
602 NE 38th Street
Fort Lauderdale, FL 33334


Zeroholding, LLC
11175 Cicero Drive
Suite 100
Alpharetta, GA 30022
                                                                                              AMENDED
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                               United States Bankruptcy Court
                               Northern District of Georgia




         Curepoint, LLC
In re:                                                           Case No. 22-56501

                                                                 Chapter   11
                     Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              10/06/2022                          /s/ Phillip Miles
Date:
                                                  Signature of Individual signing on behalf of debtor

                                                  Designated Manager
                                                  Position or relationship to debtor
